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                                                      CONSTRUCTION CONTRACT


           OWNER:
           [OASG HAZLET, LLC]

           PROJECT ADDRESS:
           [3010 NJ 35 HAZLET NJ 07730]

           CONTRACTOR:
           [SCUNGIO BORST AND ASSOCIATES]

           PROJECT DESCRIPTION:
           [PANERA BREAD LL WORK, ASSOCIATED SITEWORK, AND BLOCK “G” FACADE]

           EFFECTIVE DATE:
           [5/24/21]

           ARCHITECT:
           [MONTORO ARCHITECTURAL GROUP, PC]
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                                                           CONTRACT

                   THIS CONSTRUCTION CONTRACT (“Contract”), made and entered into by and between the
            Owner and Contractor named on the cover page of this Contract, who agree as follows:


                                                           ARTICLE 1

                              SCOPE OF WORK AND CONTRACTOR RESPONSIBILITIES


                   1.1              The Work

           Contractor shall furnish all labor, supervision, materials, scaffolding, ladders, tools, equipment, supplies,
           insurance, permits and approvals necessary for the prosecution and completion of the work on the Project
           in accordance with the Contract Documents (as defined below) (the “Work”).

                   1.2              Adherence to Contract Documents; Substitutions

                         (a)      Contractor shall perform the Work in strict accordance with the Contract
           Documents and as reasonably inferable therefrom, according to their true intent and meaning, and any
           addenda and modifications thereto.

                            (b)      The products, materials and equipment of manufacturers referred to in the
           Construction Documents are intended to establish the standard of quality and design required by Architect.
           Materials of manufacturers other than those specified may be used only if accepted by Owner. Owner, in
           consultation with Architect, shall judge the equivalency of proposed substitute materials. Owner, in its sole
           discretion, may reject a proposed substitution regardless of equivalence. In no event shall the Contract
           Time be extended, nor shall the Contract Sum be increased, by any circumstance resulting from a proposed
           substitution, without the issuance of a Change Order approved by Owner.

                   1.3              Responsibility for Construction Means and Methods; Site Safety

           Contractor, its Subcontractors of all tiers and its suppliers shall be solely responsible for (a) construction
           means, methods and techniques; and (b) establishment of a site safety program that adheres to the Project
           Safety Program and is subject to the review and approval of Owner; and all procedures and precautions
           necessary to comply with the Project Safety Program, OSH A standards, and all applicable federal, state
           and local safety and health-related codes, rales and regulation.

                   1.4              Supervision of Site; Selection of Personnel; Site Access

                           (a)      Contractor shall use its best skill and attention for the proper administration,
           coordination, supeiwision and superintendence of the Work.

                          (b)      Contractor shall report the progress of the Work at the Site or elsewhere on no less
           than a weekly basis, and promptly update Owner with any events impacting schedule or operations at the
           Site.

                           (c)     Contractor shall employ an appropriate number of full-time foremen,
           superintendents and assistants, as necessary to monitor the progress of the Work and ensure adherence to
           the Project Schedule. The foremen, superintendents and assistants shall be subject to the Owner’s
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           reasonable approval and shall not be changed, except with the consent of the Owner or in the event such
           individual ceases to be employed by the Contractor. Owner shall have the right, in its sole discretion, to
           request that any of Contractor’s personnel be removed from the Project. If Owner requests that any of
           Contractor’s personnel be removed from the Project, Contractor shall make the requested change with
           reasonable promptness.

                           (d)       Contractor shall provide Owner, Lender, and Architect safe and proper access to
           the Work. Contractor shall comply with Owner’s instructions regarding access to the Project Site and
           storage of materials at the Project Site.

                            (e)      Contractor shall ensure that all workforce on the Project are skilled, competent,
           experienced, reliable and honest workers authorized to work lawfully in the United States in compliance
           with all verification requirements in an efficient and timely manner until completion of the Work.
           Contractor shall enforce discipline and order among Contractors’ employees and Subcontractors.
           Contractor shall not employ or continue to employ on the Project any unfit person, anyone without
           appropriate safety training as applicable to the Work, nor anyone not properly skilled or trained in the task
           assigned, or anyone who in any manner interferes with or hinders labor harmony, job continuity or the
           proper performance of the Work. Contractor shall cause all Subcontractors to comply with these
           requirements and they shall include in all Sub-Subcontract agreements the same requirements outlined
           herein. If any employee of Contractor fails a drug test, the cost of such testing at a rate of One Hundred
           Dollars ($100) per employee shall be reimbursed by Contractor to Owner, as applicable.

                             (f)     To ensure that the Work shall not be intemipted by labor disputes. Contractor shall
           employ on the Work only such labor as, to the satisfaction of Owner, will perform their seiwices in harmony
           with all other contractors on the Project. Should Contractor, in the opinion of Owner, fail to carry out this
           provision. Owner shall be at liberty, after three (3) business days written notice to Contractor, to terminate
           the employment of Contractor for cause. Materials manufactured and installed and deliveries made shall
           be by workers whose trade affiliations are not reasonably anticipated to cause strikes or work stoppages on
           the Project. Contractor is also responsible for taking whatever measures may be reasonably necessary to
           settle any labor disputes and ensure job continuity and labor harmony. Any demands, costs, problems or
           disputes concerning unions, union-management benefit trast funds and/or union coalitions, including
           without limitation grievances, arbitrations and/or litigations of any type, will be dealt with by Contractor at
           its own expense so as not to cause any delay in the Project Schedule. Should Contractor fail to take
           expeditious and appropriate action. Contractor shall be responsible for any delays arising therefrom and
           any costs incurred by Owner as a result thereof. Labor disturbances for which Contractor is responsible
           shall not result in any increase in the Contract Sum.

                              (g)     If, as the result of any determination, act, decision, judgement, ruling, provisional
           order, award, or other legal requirement, imposed after the date of this Contract, the Work hereunder is
           deemed to constitute work covered by any collective bargaining agreement, labor agreement, trade
           association agreement, organizing effort, or similar requirement of any kind including a prevailing wage
           requirement then the Parties shall negotiate in good faith to adjust the Contract Sum to account for any
           costs, liabilities, penalties, losses and expenses in connection therewith, including, without limitation.
           Contractor shall indemnify and hold harmless Owner from any failure by Contractor to pay its employees
           in accordance with law.

                           (h)      Contractor may be required to use security access cards for Site access which shall
           be provided by Owner or its designee and shall be returned to Owner upon completion of the Work or upon
           request. Contractor shall be responsible for the cost of replacement cards in the event any cards are lost or
           damaged during the course of the Project.
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                    1.5              Promotion of Equal Employment Opportunities; Non-Discrimination

                            (a)     It is the policy of Owner to actively and affirmatively promote and assist: (1) equal
           employment opportunities for women and members of minority groups; and (2) the fair participation of
           minority and women-owned business enterprises (“MAVBEs”) in all aspects of the development and
           construction of the Project. Contractor hereby agrees to undertake to achieve meaningful participation of
           M/WBEs in the performance of the Work and the providing of goods and services in connection with the
           Project to the maximum extent practicable, and to comply with all applicable policies and regulations, now
           or hereafter enacted, regarding MAVBEs.

                             (b)      Contractor shall not discriminate against any employee or applicant for
           employment because of race, color, creed, sex, age, handicap/disability, medical condition, religion, marital
           status, sexual orientation, affectional preference, national origin or ancestry. Contractor shall use its best
           efforts to ensure that applicants are employed, and that employees are treated during employment, without
           regard to their race, color, creed, sex, age, handicap/disability, marital status, sexual orientation, affectional
           preference, national origin or ancestry. Such action shall include Contractor’s best efforts with respect to
           the following: employment, job classification, upgrading, promotion, demotion or transfer, recruitment or
           recruitment advertising, layoff or termination, rates of pay or other forms of compensation, and selection
           for and quality of training, including apprenticeship.

                            (c)                        Contractor shall comply with all applicable labor laws.

                    1.6              Permits and Legal Requirements

                    Owner, or Contractor if specified in the Contract Documents, shall secure the building permit.
           Contractor shall secure, maintain, renew and pay for all other permits and governmental fees, licenses and
           inspections necessaiy for the proper execution and completion of the Work called for under this Contract.
           Contractor further agrees that all Work shall be performed in accordance with, and all materials furnished
           by it under this Contract shall comply strictly with, all applicable laws, rules, regulations, ordinances, codes,
           orders, judgments and decrees of all federal, state and local entities and all other governmental authorities,
           agencies, departments, bureaus or courts having jurisdiction over the Work hereunder (the “Legal
           Requirements”) without extra charge or expense. Contractor shall be liable for any costs, damages, losses
           and expenses arising out of the violation of any such Legal Requirements by Contractor, any Subcontractor
           or anyone for whom Contractor is responsible. Contractor shall indemnily, defend and save harmless
           Owner, Lender, Architect, and all other persons and entities identified as Indemnitees or Additional
           Insureds as identified in the Contract Documents, from and against any such costs, damages, losses and
           expenses, including reasonable attorneys’ fees and disbursements, attributable to any such violation or
           noncompliance by Contractor or any Subcontractor, as well as any delay in the completion of the Work as
           a result thereof. Contractor shall cooperate with Owner by, among other things, appearing at any court,
           administrative or legal proceedings or hearings held in connection with any alleged violations of such Legal
           Requirements.

                   1.7               Taxes

                          (a)      Contractor agrees to pay and hereby assumes full and exclusive liability for the
           payment of any and all contributions or taxes imposed by the laws of the United States of America or by
           the laws of any state, city or municipality and which are measured by the wages, salaries, or other
           remuneration paid to persons employed by Contractor or its Subcontractors on the Work or for materials
           and equipment furnished. If requested. Contractor shall furnish such payroll information or employment
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           records as may be necessary to enable Owner to comply with any law imposing such contributions or taxes,
           and Contractor agrees to reimburse Owner for the entire amount of contributions, taxes or penalties that
           may be required to pay because of the failure of Contractor to furnish such information or records, or
           because of the failure of Contractor to pay such contributions or payroll taxes. The Contract Sum includes,
           and Contractor shall be liable for the payment of, all sales, use or other taxes of whatever nature levied or
           assessed against Contractor arising out of the Work and the fiimishing or installing by Contractor hereunder
           of any kind of materials, supplies or equipment, unless otherwise specified in the Contract Documents.
           Without limiting Contractor’s liability for payment. Contractor agrees to requisition sales tax as a separate
           line item in its Application for Payment. Owner may provide tax exemption documents/forms in connection
           with the Project, and Contractor agrees to comply with all requirements concerning the same. To the extent
           any tax exemption results in a savings to Contractor, Contractor agrees to pass along such savings to Owner.

                            (b)     Contractor shall provide to Owner the information and documentation relating to
           the Work required to obtain and retain for the Project the following, where applicable to the Project: (i) low
           income housing tax credits; and (ii) benefits under any agreements for the abatement of taxes. Contractor
           shall fully cooperate with Owner and any consultants hired in respect of (i) or (ii) above and shall provide
           any assistance requested by any of them in cormection therewith, including in the case of an audit. This
           provision shall survive final payment.

                    1.8             Handling of Tools, Equipment and Materials

                           (a)     Contractor is responsible for the handling and distribution of its own tools,
           equipment and materials. Contractor shall confine its tools, equipment and materials and its operations to
           areas permitted by Legal Requirements or as directed by Owner.

                            (b)      Contractor shall organize and coordinate, well in advance of the time required on
           the Project, the procurement and deliveiy of all necessary materials, supplies and equipment so that they
           will be available at the Project as needed for timely completion of the Work.

                            (c)      Owner may make available equipment used by multiple trades at the Project for
           the use of all contractors on the Project on a reseivation basis. Contractor shall make all arrangements for
           the use of any such equipment sufficiently in advance so that such use can be scheduled during nonnal
           working hours. Owner is not obligated to provide any such equipment and does not guarantee same will
           be available for use whenever or wherever Contractor desires. If Contractor shall use any equipment
           furnished by Owner or other contractors, Contractor shall satisfy itself as to the safety of such tools and
           equipment before using the same and shall be fully responsible for the safety thereof to the same extent as
           if such tools and equipment were owned by and in the sole control of Contractor. There shall be no increase
           in the Contract Sum or Contract Time for walkup time, delay, lost-time or delivery or trucking charges that
           may be incurred as a result of use of any equipment provided by Owner. If Contractor reserves use of any
           equipment or tools, but does not use it. Contractor will be charge for the reserved time. Contractor shall
           provide sufficient manpower so as to make maximum and expeditious use of any Owner supplied
           equipment.

                    1.9              Temporary Facilities

                     Contractor shall place and relocate its field offices and shanties when and where directed by Owner
           and Contractor shall provide all necessary facilities for its workers. It is understood that Contractor is
           responsible at its sole cost and expense for the acquisition, maintenance and subsequent removal of all
           utility, sprinkler and telephone seivices required for its field offices and shanties. Each structure (whether
           storage shanty or otherwise) Contractor maintains must be of fire-resistant construction if placed inside the
           Project and must contain all fire safety equipment required by law. When it becomes necessary, due to the
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           progress of the Project, for Contractor to relocate its field operations, Contractor will do so in an expeditious
           manner and at no additional cost to Owner. Removal of all of Contractor’s shanties shall be within seven
           (7) calendar days of written notification by Owner. If Contractor fails to remove all shanties with such time
           frame, the removal will be done by Owner with all costs back-charged to Contractor’s account.

                    1.10             Cleaning and Rubbish Removal

                     Contractor shall, at a minimum, clear and collect all rubbish created by its operations on a daily
           basis or as directed by Owner. If Owner uncovers or learns of Contractor’s failure to clear and collect
           nibbish created by its operations. Owner may do so upon notice to Contractor and all cost and expense of
           performing such Work shall be charged to Contractor’s account. In the event of a dispute between
           Contractor and other contractors on the Site as to responsibility for cleaning up as required under this
           Section, Owner, may clean-up and charge the cost thereof to the contractors responsible therefor which
           shall in no way be construed as relieving Contractor of its obligations under this Contract.

                    1.11             Site Conditions

                           (a)      Without limiting any other provision of this Contract, by executing this Contract,
           Contractor represents that it (i) has inspected the Site, (ii) has satisfied itself as to the condition of the Site
           including, but not limited to, all structural, surface and subsurface conditions, (iii) has familiarized itself
           with the Site and the local conditions under which the Work is to be perfoimed, (iv) has correlated its
           observations with the requirements of the Contract Documents,(v) understands that the Work may be done
           in a congested area, and (vi) has calculated its price and time schedule accordingly.

                            (b)      Material deliveries shall comply with all Legal Requirements or Project Site
           requirements and are to be promptly coordinated with Owner so as not to interfere with neighboring
           operations at the Project. Contractor shall obtain Owner’s approval of any proposed location of materials
           to be stored on Site prior to delivery of such materials on Site, as well as proposed methods of protecting
           and safeguarding such materials until installation. Contractor shall confine operations at the Project to areas
           permitted by applicable Legal Requirements, ordinances, permits and the Contract Documents and shall
           not unreasonably encumber the Site with any materials or equipment. Contractor shall coordinate all of
           Contractor’s operations with and secure approval from Owner before using any portion of the Site.

                            (c)     Where provided. Owner does not assume any responsibility whatsoever with
           respect to the sufficiency or accuracy of any investigations made by Owner, and there is no warranty or
           guaranty, express or implied, that the conditions indicated by such investigations, borings (if applicable),
           logs or information are representative of those existing throughout the Project Site, or any pail thereof, or
           that unforeseen developments may not occur. Contractor shall undertake, or require the appropriate
           Subcontractor to undertake, such investigations and studies as may be necessary or useful to deteimine
           surface and subsurface conditions.

                            (d)      Contractor agrees and acknowledges for itself and any Subcontractor (i) that the
           Contract Sum is just and reasonable compensation for all the Work, including all foreseen and reasonably
           foreseeable risks, hazards and difficulties in connection therewith, (ii) that the time within which to perform
           the Work is adequate for the performance of the Work, and (iii) that the performance of the Work shall not
           result in any lateral or vertical movement of any structure. Contractor and Subcontractors shall have no
           claims for such surface or subsurface conditions encountered. Contractor and Subcontractors shall exercise
           special care in executing Work in proximity of known subsurface or concealed utilities, improvements and
           easements.
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                    1.12             Coordination of Trades

                            (a)     Contractor shall coordinate the work of all subcontractors for the Project.
           Contractor shall manage the installation, execution and storage of their respective Work and materials.
           Contractor shall review the shop drawings of subcontractors or other contractors as necessary for proper
           interfacing of such contractors’ work. If Contractor fails to review such shop drawings, Contractor waives
           any claim in connection with, and is liable for any damages resulting from, the same. Wherever any
           provision of any section of the specifications creates a conflict between subcontractors or trades performing
           work at the Project Site, Contractor shall make all necessary arrangements to reconcile any such conflict
           without delay, recourse or damage.

                    1.13             Damaged Materials and Work

                    Material which has become damaged in any way during storage and delivery shall not be used and
           shall be replaced by this Contractor at no additional cost. Contractor must protect all of its materials stored
           on the Project Site prior to installation and take proper precautions to avoid accidental damage by other
           trades or the elements. Completed work of this Contractor shall be free of dents, tool marks, warpage,
           buckling, open joints, and other defects.

                    1.14             Quality of Workmanship and Materials

                    Contractor shall perform the Work strictly in accordance with customary construction practices and
           shall use only the highest standard of workmanship and new materials and equipment of best quality, and
           Contractor’s performance of Work and usage of materials and equipment shall be in accordance with the
           standard of care, training and skill generally accepted in the industry for Contractor’s performing a
           substantially similar scope of work for a construction project of a similar size, in the same location, and
           during the same relevant period of time, subject to the specific requirements of the Contract Documents
           and Legal Requirements. Contractor shall be responsible for cutting, fitting, or patching required to
           complete the Work or to make its parts fit together properly. All areas requiring cutting, fitting, or patching
           shall be restored to the condition existing prior to the cutting, fitting, or patching, unless otherwise required
           by the Contract Documents. Contractor recognizes that it is being hired because of its promise to produce
           this level of quality and Contractor shall incorporate into its Work a rigorous quality control inspection
           program to thoroughly check the quality of workmanship on the Project, including the oversight and
           responsibility for testing, monitoring and inspection of all Work.

                    1.15             LEED Certification Requirements

                  Contractor acknowledges that Owner may seek Leadership in Energy and Environmental Design
            (“LEED”) certification for the Project. Contractor agrees to comply with all LEED submittal requirements.

                    1.16             Accessibility Requirements

                            Contractor shall comply with all federal state, and local accessibility requirements that
           apply to the Project. Contractor acknowledges that Owner may retain an FHA compliance consultant (the
           “Accessibility Consultant”) to help ensure that the as-constnicted features at the Project comply with
           relevant Legal Requirements. Contractor shall fully coordinate and cooperate with the Accessibility
           Consultant and keep the Accessibility Consultant apprised concerning the Work being performed by
           Contractor hereunder.
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                                                             ARTICLE 2

                                                         CONTRACT SUM


                   2.1               Contract Sum

                    (a)     Owner agrees to pay to Contractor for the performance of the Work the contract sum set
            forth in the Project Appendix (the “Contract Sum”), subject to the terms and conditions hereof, and
            Contractor agrees to accept for the performance of the Work for the Contract Sum, subject
            to the terms and conditions hereof.

                    (b)      Owner its option, may purchase certain alternates, if any, listed in the Contract
            Documents the pricing for which includes all labor, material, equipment, profit, overhead, transport,
            demurrage, taxes, etc. needed to complete the Work, and any additional work at the unit prices, if any,
            identified in the Contract Documents.

                    (c)                     Contractor represents and warrants to Owner that:

                              (i)     In its capacity as a Contractor and not as a licensed design professional, it has
            carefully examined and understands the Contract Documents, has investigated the nature of the Work and the
            conditions and difficulties under which it is to be performed, and that it enters into this Contract on the basis
            of its own examination, investigation and evaluation of all such matters and in reliance on the documents
            referenced in the Contract Documents but not in reliance upon any opinions or representations of Owner or
            of any of their respective members, officers, agents or employees except as expressly provided in the Contract
            Documents;

                            (ii)    the Contract Documents are sufficient to have enabled Contractor to determine
            the cost of the Work and that the Contract Documents are sufficient to enable it to construct the Work
            outlined therein, and otherwise to fulfill all of its obligations hereunder;

                            (iii)   that it has visited and examined the site and suiTOunding areas as necessary in
            order to be familiar with all existing conditions, including the location of adjacent stnictures and utilities
            and access to the Project Site;

                            (iv)    that it has satisfied itself as to the quality and quantity of all materials, supplies,
            tools, equipment, labor and professional services necessary to complete the Work in the manner and
            within the cost and time frame required by the Contract Documents;

                             (v)    that it has identified to Owner prior to execution of this Contract any areas of the
            Project Site as to which it was unable to make a full inspection and the reasons therefor;

                             (vi)    that it is obligated to immediately uncover all areas of its Work upon execution
            of this Contract which areas may impact upon the schedule for the Project and failure to take such action
            shall preclude Contractor from making any claim for extended General Conditions or the Contract Time
            as a result of any conditions which would have been discovered had Contractor adhered to the obligations
            of this subsection; and
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                            (vii)   that, to the extent applicable to the Work, it acknowledges the degree of care
            required with respect to protection of existing utilities, adjacent properties and streets.

                   (d)       Based upon the foregoing representations. Contractor agrees and acknowledges (i) that
            the Contract Sum is just and reasonable compensation for all the Work, including all unforeseen,
            foreseen and foreseeable conditions, risks, hazards and difficulties in connection therewith, and (ii) that
            the time set forth in the Project Schedule is adequate for the performance of the Work.


                                                             ARTICLE 3

                                CONTRACT DOCUMENTS, CORRELATION AND INTENT


                    3.1              The Contract Documents

                    (a)     The “Contract Documents” consist of this Contract including the Project Appendix and
           all the Exhibits hereto, all of which comprise a single contract enforceable against and by each of the
           Parties. To the extent that any of the Exhibits, including any portion thereof which constitutes information
           submitted by Contractor with or as the Contractor’s proposal, conflict with the terms of this Contract or
           the Project Appendix, the Contract and Project Appendix shall control.

                    (b)     All the Contract Documents shall be read together as complementary and the rights and
           obligations thereunder shall be deemed cumulative. When Work is indicated on the drawings but is not
           called for in the other Contract Documents, or is called for in the other Contract Documents but is not
           indicated on the drawings, and the nature of the Work is such that it should be perfoimed by workers
           employed by this Contractor, or if standard building practices in the locale of the Project would require
           such Work to be performed by this Contractor, then such Work shall be deemed a part of the Work covered
           by this Contract and shall be performed by this Contractor without additional compensation. It is
           specifically agreed that all work usually or customarily performed by the trade(s) covered by this Contract
           shall be performed by Contractor in the event the work is indicated on any Project drawings or called for
           in any portion of the Contract Documents or is otherwise called for in accordance with this paragraph.
           Should it appear that the Work hereby intended to be done or the material to be furnished, or any of the
           matters relating to said Work or materials, are not sufficiently detailed or explained on the drawings or in
           the specifications. Contractor shall apply to Owner for such other and further drawings or explanations as
           may be necessaiy, and shall conform to the same without extra compensation as part of this Contract.

                   (c)      Notwithstanding anything in the Construction Documents to the contrary, it is understood
           and agreed that the Contract Sum is predicated on the complete installation of all Work of the subject trade
           unless specifically excluded elsewhere herein. All Work is to be done in a first-class workmanlike manner
           using new materials and equipment to the complete satisfaction of Owner and Architect. The Work
           includes any and all items normally required to provide a complete, first-class job in eveiy detail for
           maximum quality, serviceability and appearance.

                    (d)     Contractor represents that it is familiar with the Project and has expertise in the scope of
           this trade and the Work.

                  (e)     Contractor shall review all Contract Documents for consistency, implementation and
           completion of the Work and coordination with other trades, and promptly report to Owner any error.
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           omission, inconsistency or similar defect that may be apparent from Contractor’s review of the Contract
           Documents. Contractor shall cooperate with Owner, Architect and other contractors in good faith to resolve
           such eiTor, omission, inconsistency or defect in a manner so as to avoid any increase in the Contract Sum or the
           Contract Time. If any conflicts or ambiguities exist in, between or among the Contract Documents, and/or
           existing conditions at the Project Site, Contractor shall immediately upon discovery bring such conflict or
           ambiguity to the attention of Owner for resolution. It is expressly understood and agreed that Owner, in
           consultation with Architect, shall be the sole inteipreter of the Contract Documents and shall resolve any such
           conflicts and ambiguities. In the event there are any such conflicts or ambiguities, then the interpretation
           imposing the greater obligation or stricter limitation on Contractor shall control, as reasonably determined by
           Owner. In addition, in the event there are any such conflicts or ambiguities which result in a choice between
           different means and methods to perform the work after the resolution of the conflict or ambiguity. Contractor
           shall be responsible to perform the work without additional compensation for using the means and methods
           directed by Owner. If Contractor perfomis any such work before Owner have had a reasonable time to respond.
           Contractor shall solely bear the risk of performing such work contrary to the resolution thereof by Owner.

                                                              ARTICLE 4

                                           ADMINISTRATION AND ARCHITECT


                    4.1              Administration

                   Owner may employ one or more consultant(s) to review the Contract Documents, perform inspections
           of the Work and the Project during construction and participate in the administration of this Contract,
           including the review and approval of Contractor’s Applications for Payment. Contractor shall cooperate
           with such consultants as requested by Owner.

                    4.2              Architect

                   Architect will not have control over or charge of, and will not be responsible for, constraction means,
           methods, techniques, sequences or procedures, or for safety precautions and programs in connection with the
           Work, since these are solely Conti’actor’s responsibility. Architect’s decision on matters relating to aesthetic
           effect will be final if consistent with the intent expressed in the Contract Documents.

                                                              ARTICLE 5

                               PROJECT SCHEDULE AND COMPLETION OF THE WORK


                    5.1              Time for Completion of the Work

                           (a)     It is understood and agreed that time is of the essence in the commencement,
           prosecution and completion by Contractor of the Work. Contractor shall perform the Work in a prompt and
           diligent manner and shall perform the several parts thereof at such times and in such order as set forth in
           the project schedule included in the Exhibits hereto or as later agreed to by Owner and Contractor (the
           “Project Schedule”). The “Contract Time” is the period of time for completion of the Work set forth in the
           Project Schedule, which is subject to the approval of Owner and which may not be modified without
           Owner’s prior written consent.
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                        (b)      Contractor shall mobilize its labor, materials, supplies and equipment in order to
           commence work at the Site at the time set forth in the Project Appendix.

                            (c)     The Work shall be deemed to be substantially completed (“Substantial
           Completion”) when only punch list work, as determined by Owner and Architect, remains to be completed.
           Contractor shall achieve Substantial Completion of the Work by the time set forth in the Project Appendix.

                           (d)    The Work shall be deemed to be finally completed (“Final Completion”) upon
           confirmation by Owner and Architect that:

                                     (i)      all Work, including all punch list work and all Work that is the
           responsibility of Contractor which is required for Owner to obtain a permanent certificate of occupancy for
           the Project, has been fully and satisfactorily completed in a good and workmanlike manner, in conformance
           with the Contract Documents and in full compliance with all applicable laws, rules, requirements and
           regulations of all governmental authorities having jurisdiction over the Work;

                                     (ii)    all final certificates of approval relating to the Work for which Contractor
           is responsible to secure shall have been issued and delivered to Owner;

                                  (iii)   all required receipts, releases of liens, affidavits, waivers, guarantees,
           warranties, bonds, as-built drawings (which are required unless otherwise stated), operation and
           maintenance manuals, stock and any other documents required under the Contract shall have been delivered
           to Owner; and

                                  (iv)     Contractor has provided Owner and/or its designee(s) training on the
           operation and maintenance of all building systems for which Contractor is responsible.

                          (e)      If Contractor fails to perform the Work in a prompt and diligent manner in
           accordance with the Project Schedule, Owner may decline to make payment to Contractor.

                    5.2     Meetings and Reports

                            (a)    Contractor shall schedule, provide Owner and Architect with notice of, and ensure
           participation by subcontractors in weekly progress meetings and special job meetings as needed to ensure
           the progress of the Work in accordance with the Project Schedule. All such meetings shall be held at the
           Site. Contractor shall separately schedule meetings with the Owner and any other persons requested by
           Owner.

                         (b)     For all meetings. Contractor shall prepare meeting minutes to be circulated for
           review and comment by meeting participants.

                            (c)     Contractor shall periodically update the status of the progress of such shop
           drawings and material deliveries, as well as within two (2) calendar days of any request therefor by Owner.
           If Contractor fails to submit a proposed schedule for the submission of shop drawings and/or fails to
           maintain or adhere to such schedule during the course of the Project, Contractor waives any claim based
           on, or in connection with, shop drawings.

                           (d)     Contractor shall cooperate with and assist Owner in (i) preparing and updating, for
           review by Owner and Architect, a submittal/material status log, based upon the submittal schedule,
           indicating the status of past, current and future submittals; and (ii) maintaining a log of requests for
           infoimation (“RFIs”) and responses.
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                            (e)    Contractor shall, upon the commencement of the Work each day, provide a written
           report (in a form approved by Owner) to Owner stating the number of workers at the Site, the description
           of Work to be performed that day, the area(s) of the Site at which Work is to be performed that day and the
           equipment on the Site (“Daily Reports”).

                    5.3     Delays, Damages and Extensions of Time

                            (a)      Contractor shall maintain the progress of the Work in conformance with the Project
           Schedule. It is understood that Contractor shall perform the Work during normal working hours, except as
           otherwise set forth in the Contract Documents. However, Contractor shall work overtime at its own expense
           to maintain the progress of the Work in accordance with the Project Schedule.

                           (b)      Contractor shall not cause any unnecessary hindrance or delay, and shall reimburse
           Owner for all costs incuiTed by Owner as a result of such hindrance or delays.

                            (c)      Anything contained in this Contract to the contrary notwithstanding, if and to the
           extent that there are hindrances to, or delays in, the performance of the Work for any reason outside the
           control of Contractor including Contemplated Delay, and if Contractor demonstrates that the Work is
           actually hindered or delayed thereby. Contractor’s presumptive sole remedy shall be an extension of time
           to perform the Work. Notwithstanding the foregoing. Contractor shall not be entitled to an extension of the
           time to perform the Work unless Contractor is without fault, has diligently sought to minimize the period
           of delay or hindrance by means which include, without limitation, seeking alternate sources of labor or
           materials or acceleration of the Work, and shall have given written notice to Owner of such claim within
           five (5) calendar days after the occun'ence of any delay, which notice shall set forth in detail (i) the nature
           of each delay, (ii) the date or dates upon which each cause of delay began and ended, (iii) the number of
           days of delay attributable to each such cause, (iv) the action taken, or to be taken, by Contractor to minimize
           the period of delay and (v) the manner in which such delay effects the Project Schedule then in effect.
           Contractor shall furnish such additional suppoifing documentation as Owner may request, including, where
           appropriate, a revised schedule for the Work indicating all of the activities affected by the circumstances
           which form the basis for the claim. The aforesaid five (5) day notice is a condition precedent to an
           extension of time to perform the Work and failure to provide same shall constitute a waiver by
           Contractor of an extension of time to perform the Work based on the delay. Contractor shall require
           in all Subcontracts that the Subcontractor provide the aforesaid five (5) day notice. Failure to do so shall
           constitute a waiver by the Subcontractor of an extension of such time based on the delay. Any extension of
           time shall be deemed accepted by Owner only if reflected in a validly issued Change Order.

                             (d)     For purposes of this Contract, “Contemplated Delay” shall be deemed to include,
           but are not limited to, delays or hindrances to the extent not caused by or contributed by Contractor and are
           caused by: (1) the acts or omissions of Architect or Owner (or other parties or entities for whom they are
           responsible), including changes to the Work not caused by negligent acts or omissions of Contractor; (2)
           the acts or omissions of Lender; (3) strikes, (4) fire; (5) acts of a public enemy; (6) unavailability of, or
           inability to obtain materials by reason of shortages which affect the supply or availability of materials; (7)
           floods; (8) rebellions, riots, insurrections, sabotage or teiTorism; (9) adverse and unusual weather
           conditions; (10) delays or interferences by Owner’s other contractors and/or their subcontractors or
           suppliers; (11) unforeseen subsurface conditions, including previously unidentified hazardous materials; or
           (12) suspension of the Work ordered by law.

                             (e)     If any delay on the part of Contractor or any Subcontractor, or anyone for whose
           acts Contractor or any Subcontractor may be liable, results in any claim by third parties against Owner
           arising out of such delay. Contractor shall pay, satisfy, and discharge all costs, losses, damages and expenses
           arising out of such claims, including attorneys’ fees incurred by Owner. Additionally, Contractor shall
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           indemnify and hold harmless Owner, Lender as well as any Indemnitees, from and against all costs, fees,
           losses, damages, and expenses arising out of such claims.

                            (f)      It is the responsibility of Contractor to maintain the progress of the Work in
           accordance with the Project Schedule. Except as otherwise provided herein with respect to Contractor’s
           inability to timely perform the Work by reason of Contemplated Delays, if Contractor or any of its
           Subcontractors delays the progress of the Work, Contractor shall increase, and shall cause the
           Subcontractors to increase, in connection with their respective portions of the Work, the number of workers,
           the number of shifts, the days of work and, to the extent permitted by law, institute overtime operations, all
           at the sole cost and expense of Contractor and without additional cost to Owner, in order to progress the
           Work in accordance with the Project Schedule. Owner may, in its sole discretion, supplement Contractors’
           forces with workers it employs or with other contractors. The cost of such supplemental forces shall be
           deducted from the Contract Sum in an amount equal to the actual cost to Owner plus a fifteen percent (15%)
           administrative fee.

                             (g)     Contractor acknowledges that if (i) it fails to complete the Work within the time
           provided in the Project Schedule together with extensions pennitted pursuant to this Contract due in whole
           or in part to its own fault or the fault of parties for whom Contractor is responsible, (ii) it abandons the
           Project or the Work, or (iii) this Contract is terminated as a result of Contractor breach, Contractor shall be
           liable for any and all damages for which liability is asserted against Owner, or otherwise directly or
           indirectly incurred by Owner, including, but not limited to, reasonable attorneys’ fees, costs and expenses
           arising out of interest and expenses on loans, deferred rental income or termination of leases by incoming
           tenants, unless othei-wise provided. Contractor shall likewise require its Subcontractors to be responsible
           for such costs which are attributable to such Subcontractors.

                            (h)    Punch-list work shall be performed by Contractor only at times as will not
           unreasonably interfere with the use or occupancy of the Project by an occupant at no additional cost to
           Owner or such occupant. Owner may require the use and operation of any operational heating, ventilating
           or air conditioning equipment at the time that Owner or Owner’s designees occupy or use any portion of
           the Project, and Contractor shall maintain such equipment for the duration of its use. Any such use or
           occupancy by Owner shall not affect the warranties and guarantees required hereunder.

                             (i)     If adverse weather conditions are the basis for a claim for additional time, such
           claim shall be documented by data substantiating that weather conditions were abnormal for the period of
           time, could not have been reasonably anticipated, and had an adverse effect on the scheduled construction.
           Time extensions shall not be granted for rain, wind, snow or other natural phenomena of normal intensity
           for the locality where the Project is located.

                    5.4      Expediting

                            (a)     Contractor shall work on procuring and furnishing all materials and equipment
           required to be furnished by Contractor so that Contractor may commence deliveries and start the Work at
           the Project in accordance with the Project Schedule. Deliveries of all such materials and equipment to the
           Project shall be made at such times (including overtime days or hours if necessaiy) so as to avoid delays to
           the Project.

                            (b)     Owner shall have the right to expedite the Work even out of sequence and,
           provided Contractor is (i) in the good faith judgment of Owner not behind schedule in performance of the
           Work and (ii) not otheiwise in default in any of the provisions of the Contract, Owner shall reimburse
           Contractor for the actual additional wages over and above straight time rates determined at premium rates
           actually paid by Contractor and approved by Owner for such overtime for personnel which have been
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           approved by Owner, plus taxes imposed by law on and fringe benefits and insurance applicable to such
           additional wages. Contractor shall not be entitled to any payment on account of overhead or profit with
           respect to such additional wages, fringe benefits and insurance. Contractor will not be entitled to additional
           compensation for Work performed outside of normal working hours unless expressly stated in writing by
           Owner in advance. Time slips covering said additional wages must be checked and approved by Owner, or
           if directed by Owner, by Contractor, on a daily basis. If, however. Contractor is, in Owner’s good faith
           judgment, behind in the progress of the Work or, in Owner’s good faith judgment, delaying the progress of
           the Work necessary to complete the Project in accordance with the Project Schedule, then, if requested by
           Owner, Contractor shall work such overtime hours or days with such additional personnel and increase
           crew size as may be necessary in Owner’s opinion to maintain the progress of the Work, and the costs
           incurred on account of such overtime (including the cost of stand-by trades) shall be borne solely by
           Contractor. Any refusal by Contractor to commence and perform such overtime work shall constitute a
           default hereunder. If requested by Owner, Contractor shall also furnish a recovery schedule within three (3)
           days of request or such longer period as may be mutually agreed upon indicating Contractor’s proposed
           efforts to overcome the delays in its performance of the Work. Under no circumstances shall Owner be
           liable or responsible to Contractor for damages resulting from expediting/accelerating the performance of
           Work pursuant to this Section, including but not limited to lost productivity costs, and Contractor waives
           its right to make a claim for any such damages.

                    5.5     Use and Occupancy of Project Prior to Completion

                            (a)    Occupancy of and use by Owner or any tenant, or any ultimate lessee or purchaser
           of the Project’s components shall not be construed as acceptance of the Work and shall not relieve
           Contractor from any obligation of performing all of the Work required by the Contract but not completed
           at the time of occupancy.

                                                              ARTICLE 6

                             INSPECTION, TESTING AND CORRECTION OF THE WORK


                    6.1     Inspection and Correction of the Work

                    Contractor shall provide, both in off-site manufacturing/fabrication shops and/or plants, and at the
           Site, sufficient safe and proper facilities at all times for the inspection of the Work by Owner, Lender, and
           Architect, and their authorized agents and representatives. Contractor shall, within two (2) business days
           after receiving written notice from Architect or Owner, at its own cost and expense, proceed to remove
           from the Site all materials rejected by Owner or Architect, as not complying with the Contract Documents
           whether worked or unworked, and to take down or uncover all portions of the Work which Owner or
           Architect shall, by like written notice, reject as unsound or improper or as in any way failing to confoim to
           the Contract Documents. Work done or materials furnished by Contractor and not approved by Owner or
           Architect will not be accepted. Conb’actor shall promptly (no later than ten (10) calendar days after
           receiving notice) correct all Work rejected as defective or as failing to conform to the Contract Documents
           whether obseived before or after completion of the Project and whether or not fabricated, installed or
           completed. Contractor shall bear all costs of correcting such rejected work, including compensation for
           Architect’s, Owner’s or any other consultants’ additional seiwices made necessary thereby. Contractor shall
           not be relieved of its obligations to perform the Work in accordance with the Contract Documents either
           by the administration of the Project by Owner or Architect or by any inspections, tests or approvals required
           of, or to be performed by, others.
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                    6.2             Uncovering of the Work

                           (a)    Contractor shall document all Work prior to covering. If any portion of the Work
           should be covered contrary to the request of Architect, Owner or contrary to the requirements specifically
           expressed in the Contract Documents, Contractor shall, if required in writing by Architect or Owner,
           uncover such Work for observation and same shall be replaced at Contractor’s sole cost and expense.

                    6.3             Defective Work

                            (a)     At Owner’s option, Owner may accept defective or nonconforming Work or
           materials, instead of requiring its removal, correction or replacement, as the case may be, and may reduce
           the Contract Sum by such amount as Owner reasonably determines appropriate.

                             (b)    Should any person or persons at any time assert a claim or institute any action, suit
           or proceeding against Owner, Lender or Architect involving the manner or sufficiency of the performance
           of the Work contemplated under this Contract, Contractor will upon request of Owner promptly take over
           the defense of any such claim, action, suit or proceeding at the sole cost and expense of Contractor and will
           also indemnify Owner, Lender, Architect, and all other persons and entities identified as Indemnitees or
           Additional Insui-eds, and anyone else to be designated by Owner, and save them harmless from and against
           any and all liability, damages, judgments, costs or expense, including attorneys’ fees and disbursements,
           arising out of or in connection with any such claim, action, suit or proceeding.

                                                           ARTICLE 7

                                                  CHANGES IN THE WORK


                    7.1             Changes in the Work

                             (a)      Owner, without invalidating or abandoning this Contract, may at any time require
           in writing, changes in the Work consisting of additions, deletions or other revisions. Such additions,
           deletions, or other revisions shall be undertaken subject to Owner’s execution of a Change Order form. A
           “Change Order” forai is a written instrument signed by Owner and Contractor stating agreement upon all
           of the following: (i) the change in the Work; (ii) the amount of the adjustment, if any, in the Contract Sum;
           and (iii) the extent of the adjustment, if any, to the Project Schedule.

                             (b)     If Owner and Contractor are unable to agree to the terms of a Change Order for
           work relating to a change. Owner may engage another contractor to perform such work without invalidating
           or giving rise to any claim by Contractor.

                    7.2             Field Directives

                    Architect shall resolve conflicts in the Constmction Documents or order minor changes to avoid
           conflicts between different trades through written field orders or field directives (“Field Directives”) which
           shall require written approval by Owner prior to Contractor proceeding with the Work; provided, however,
           that in no event shall any Field Directive be construed to authorize any clarification or change which may
           necessitate or warrant a Change Order, an Emergency Change Order, or which may result in (w) a change
           in the character or scope of the Project or any part thereof, (x) a change in the Contract Sum, (y) a change
           in the Project Schedule unless authorized in writing by Owner.
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                    7.3              Emergency Change Orders

                    Anything contained herein to the contrary notwithstanding, Contractor shall have the authority to
           order “emergency changes” in the Work, without the prior written approval of Owner, by the issuance of a
           written order (an “Emergency Change Order”). For purposes of this Contract, “emergency changes” in the
           Work shall mean only changes which are required in the case of an emergency to insure the safety of
           persons or the Work and which, in the interest of expediency. Contractor determines should be made
           without obtaining the prior written approval of Owner. Contractor shall notify Owner that it has issued an
           Emergency Change Order within twenty-four (24) hours after the same has been issued, which notification
           shall set forth the reason giving rise to the issuance of the same, and promptly furnish Owner with copies
           of all such Emergency Change Orders. Valid Emergency Change Orders shall be confirmed by Owner by
           a duly issued Change Order.

                    7.4              Contractor’s Notice of Claim

                            (a)     Contractor may make a claim for changes in the Work, additional work or extra
           work, and/or time extensions to complete the Work only if Contractor provides notice of such claim in
           writing to Owner within five (5) calendar days after the event giving rise to such claim. Upon receipt of
           same. Owner may request additional information, authorize a Change Order, or dispute such written notice.
           Owner shall have no obligation to approve or grant such claim, and may direct Contractor to proceed with
           disputed work in accordance with the requirements of this Contract. In the event the aforesaid written notice
           is not given such claim shall be considered as abandoned and waived by Contractor. The aforesaid written
           notice of any claim by Contractor for an increase in the Contract Sum or for an extension of time to
           complete the Work is a condition precedent to such increase in the Contract Sum or for an extension
           of time to complete the Work. Confractor shall have no right to requisition for disputed work until a final
           Change Order covering such work is issued, signed and approved.

                    7.5              Fast Track

                            Contractor acknowledges that this Project may be constructed on a “fast-track” basis.
            Contractor shall furnish first class, professional and efficient Work and shall complete its Work in
            accordance with the Standard of Care and consistent with, to the extent required, “fast-track” construction,
            the Project Schedule and the Contract Documents.

                                                             ARTICLE 8

                                                             PAYMENTS


                    8.1              Applications for Payment

                            (a)     Unless othenvise agreed or included as an exhibit hereto, within five (5) calendar
           days of the execution of this Contract, Contractor shall prepare and deliver to Owner a schedule of values
           satisfactoiy to Owner to be used for processing Contractor’s Applications for Payment. The schedule of
           values shall include detail sufficient such that Owner can identify and breakout various costs of the Work.
           Owner’s approval of the schedule of values is a condition precedent to Contractor’s right to payment. Once
           a schedule of values has been accepted by Owner, it cannot be changed without the consent of Owner.

                             (b)     Partial payments of the Contract Sum shall be paid by Owner to Contractor as
            follows: Contractor shall furnish to Owner (and if requested by Owner, to Owner, Lender and/or Architect)
            an application for payment in standard industiy form (“Application for Payment”) together with supporting
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           documentation in form and substance satisfactory to Lender and Owner at the time specified in any exhibit
           hereto or if none, on or before the 25* day of each calendar month, for Work performed by Contractor from
           the P' day to the 25* day of the month and projected through the end of the month. Change Orders and
           materials which are stored (on or off-site) but have not been incorporated in the Project shall be listed
           separately on each Application for Payment. If Owner approves the Application for Payment, and all Work
           performed by Contractor theretofore, and all materials stored on or off-site which may or may not already
           be erected in place by Contractor theretofore, and if Owner is satisfied that the Work still to be done and
           the materials still to be furnished by Contractor can be completed within the Contract Sum, Owner, upon
           the approval of the Application for Payment or so much thereof as may have been found to be correct, shall
           make payment to Contractor of the amount so approved, less Retention and any setoffs or deductions
           permitted under the Contract, within forty-five (45) calendar days unless otherwise stated in an exhibit
           hereto or any lesser period required by law. As a condition precedent to payment. Contractor shall provide
           to Owner a conditional lien release in the form annexed hereto, including same from Contractors’
           Subcontractors and suppliers showing the names and addresses of such Subcontractors and suppliers. In
           the event Architect, Owner or Lender disapprove any items on the Application for Payment, Owner shall
           prepare a written statement describing those items in the Application for Payment that are disapproved at
           the time payment is made for the approved items.

                            (c)      Final payment shall be made by Owner to Contractor upon submission of an
           Application for Payment following Owner’s confirmation of Final Completion of the Work, and provided
           such final Application for Payment includes (i) a final mechanic’s lien release in the form annexed hereto,
           and a general release of Lender, and Owner, duly executed by Contractor, together with good and sufficient
           evidence that the premises are free from all liens and claims chargeable to the said Contractor, (ii) evidence
           that required signoffs and/or filings by Contractor with the applicable governmental agencies have been
           made, and (iii) all applicable warranties, guarantees, as-built drawings and complete and accurate manuals
           (including manuals, indexed and suitably bound, containing the manufacturers’ instructions for
           maintenance and operation of each item of equipment and apparatus furnished under the Contract).

                             (d)      If at any time there shall be any lien or claim for which, if established. Owner or
           Lender, or any successor thereto, may be liable and which would be chargeable to Contractor, Owner shall
           have the right to retain out of any payment then due or thereafter to become due an amount sufficient to
           completely indemnify Owner and Lender against any and all costs and expenses arising out of such lien or
           claim until it shall be effectively satisfied, discharged or canceled. Should there prove to be any such lien
           or claim after all payments are made. Contractor shall pay to Owner and/or Lender all monies that Owner
           and Lender may be compelled to pay in discharging any such lien or claim.

                            (e)     No payment made under this Contract shall be evidence of specific performance
           of this Contract either wholly or in part against any claim of Owner, and no payment shall be construed to
           be an acceptance of any defective Work.

                            (f)     Each Application for Payment by Contractor shall constitute a representation by
           Contractor that (i) the partial payment then requested to be disbursed has been incurred by Contractor on
           account of the Work, (ii) the materials, supplies and equipment for which such requisition is being
           submitted have been installed or incorporated in the Project or have been stored at the Project Site or at
           such off-Project Site storage locations as shall have been approved in writing by Owner and/or Ai’chitect
           on behalf of Owner, and Lender; provided, however, that Owner and/or Lender shall not be obligated hereby
           to pay or advance monies for materials stored off-site, unless the materials and costs are separately itemized
           and approved in advance and in writing by Owner and Lender, (iii) the materials, including these stored off
           site have been properly insured and stored in a “bonded” warehouse and supplies and equipment are insured
           in accordance with the provisions of this Contract, (iv) the materials, supplies and equipment are not subject
           to any liens or encumbrances, (v) no mechanic’s, laborer’s, vendor’s, material man’s or other liens have
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           been filed in connection with the Project for any of the materials, supplies or equipment incorporated therein
           or purchased in connection therewith, (vi) the Work which is the subject of such requisition has been
           performed in strict accordance with the Contract Documents and all applicable Legal Requirements, and
           (vii) that the partial payment then requested to be disbursed, together with all sums previously disbui'sed
           under prior requisitions, does not exceed that portion of the Contract Sum which is allocable to the portion
           of the Work actually completed up to the date of such requisition and that the remainder of the Contract
           Sum (as the same may have been adjusted hereunder) will be sufficient to pay in full the costs necessary to
           perform and complete the Work. Contractor shall execute a payment receipt, on demand therefor, in a form
           provided by Owner, which is acceptable to Owner and Lender at the time of each payment when requested
           by Owner.

                           (g)     In the event Contractor fails to provide any Application for payment within the
            time required by Owner, in order for Owner to submit its application for payment to Contractor,
            Contractor’s Application for Payment shall be submitted with Owner’s next following requisition to
            Contractor.

                             (h)    Owner, Lender, Architec t, or any of them, may decline to approve a requisition for
            payment in whole or in part, or decline to make a payment or may disapprove a previously approved
            requisition for payment for the following reasons:

                                     (i)                        defective Work not remedied;

                                    (ii)    claims/lawsuits tendered by or on behalf of Owner which have not been
            accepted by Contractor’s insurance company for defense and indemnification;

                                   (iii)   failure of Contractor to make payments to its Subcontractors or suppliers
            or employees properly due including payments required to be made pursuant to collective bargaining
            agreements and other employer/employee agreements;

                                    (iv)       reasonable evidence that the Work cannot be completed for the unpaid
            balance of the Contract Sum;

                                     (v)       damage to the Work or the work of another contractor for which
            Contractor is responsible;

                                    (vi)       reasonable evidence that the Work will not be completed within the
            required completion time;

                                     (vii)                      erroneous estimates by Contractor of value of Work performed;

                                     (viii)    material safety violations by Contractor or other violations of Legal
            Requirements;

                                     (ix)                       any liens have been filed against the Project;

                                     (x)       other material failures of Contractor to perform in accordance with the
            Contract Documents;

                                     (xi)      failure to include the proper Retention, as set forth below;

                                    (xii)      failure to perform the Work in a prompt and diligent manner in accordance
            with the Project Schedule;
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                                     (xiii)    execution of pending back-charges;

                                     (xiv)     insufficient evidence that all systems are operating properly.

                            (i)     The Contract retention (“Retention”) shall be as set forth in an exhibit hereto or if
           none, then equal to ten percent (10%) of the value of Work in place. When fifty percent (50%) of
           Contractor’s Work has been performed, Retention may be reduced in Owner’s sole discretion. Retention
           will be released with the final payment.

                         (j)      Contractor and Subcontractors and suppliers of every tier shall comply with all
           Legal Requirements, including prompt payment acts and trust fund statutes.

                            (k)    Contractor shall include this Section in each Subcontract and purchase order and
           shall require each Subcontractor and supplier to include this Section in each lower-tier Subcontract.

                             (1)     Any and all funds paid to Contractor hereunder are hereby declared to constitute
           trust funds in the hands of Contractor, to be applied before application to any other purpose to the payment
           of: (i) claims of Subcontractors, suppliers, materialmen or other entities performing work and employed by
           Contractor, (ii) to claims for utilities furnished and taxes imposed, and to the payment of any premiums on
           surety bonds and other bonds filed, and any premiums on insurance accruing during performance of the
           Work, and (iii) any indemnity obligations of Contractor hereunder. Owner reserves the right to issue two-
           party checks in connection with payments due and owing to Contractors’ Subcontractors, in which event
           Contractor shall endorse such check and provide it to Owner for deliveiy to the applicable Subcontractor
           or supplier.

                    8.2     Title, Liens and Claims

                     Title to all Work, including, without limitation, materials and equipment, shall pass to Owner,
           Lender and/or Owners partners as appropriate upon incorporation of the Work, materials and equipment
           into the Project or upon payment therefor, whichever shall first occur. Contractor wairants and agrees that
           all materials and equipment incoiporated by it in the Project and all materials and equipment delivered by
           it at the Site for incorporation in the Project shall be free of any and all liens, claims, chattel mortgages,
           security interests, encumbrances and conditional sales agreements in favor of Contractor, or any of its
           Subcontractors, suppliers, or other persons or entities, of all tiers. Contractor further agrees that any monies
           it shall receive in payment for Work performed under this Contract shall be received in trust and used to
           discharge its financial obligations with respect to the Work. Contractor further agrees that it will not file or
           cause to be filed any mechanic’s lien for materials or equipment furnished or to be furnished and/or for
           labor performed or to be performed unless default shall first have been made by Owner in making a payment
           under this Contract and ten (10) calendar days prior written notice of such default shall have been given to
           Owner. Contractor further agrees that, provided Contractor has been paid undisputed sums in accordance
           with this Contract, if any Subcontractor or any supplier or anyone claiming by or through Contractor or
           such Subcontractor or supplier shall file or cause to be filed any lien. Contractor will, upon notice from
           Owner, provided Contractor has been paid undisputed sums in accordance with this Contract, cause such
           lien to be canceled and discharged within ten (10) calendar days from such notice at Contractor’s sole cost
           and expense; and in the event of Contractor’s failure to do so. Owner, and/or Lender shall have the right to
           cause such lien to be canceled and discharged by bonding or otherwise and in that event any expense so
           incuired by Owner and/or Lender, including the premiums upon any bond furnished for such cancellation
           and discharge and reasonable attorneys’ fees and disbursements, shall be paid by Contractor, or at the option
           of Owner, shall be deducted from any payment then due or thereafter becoming due from Owner to
           Contractor. Contractor shall indemnify, defend and pay all costs and expenses, including premiums,
           attorney fees and disbursements, arising out of or related to any action with regard to such lien. In the event
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            of any breach by Contractor of any of the terms of this Section, Owner shall have the option to terminate
            this Contract and the employment of Contractor for cause. Said right shall be cumulative and shall be in
            addition to any and all other rights and remedies herein or otherwise by law given to Owner.

                    8.3      Contractor’s Work Documents

                            (a)    Contractor hereby agrees to furnish and/or make available for inspection by Owner
           and/or Lender, during reasonable business hours. Contractor’s books and records relating to construction
           work being performed or the acquisition of any material or equipment to be incorporated into the Project.
           Upon reasonable notice from Owner or Architect, these records shall be available at Contractor’s office
           during business hours for audit and copying by Owner, Owner and/or governmental authorities having
           jurisdiction over the Work. Contractor shall retain these records for six (6) years after its receipt of final
           payment.

                             (b)      In addition. Contractor shall maintain, and shall require its Subcontractors to
            maintain, all records related to the compliance of the Project’s design and construction with the ADA, the
            FHA, the Accessible Design Requirements and the Standard. Upon reasonable notice from Owner or
            Architect, these records shall be available at Contractor’s office during business hours for audit and copying
            by Owner, Owner and/or governmental authorities having jurisdiction over the Work. Contractor shall
            retain these records for six (6) years after its receipt of final payment.

                                                             ARTICLE 9

                              SAFETY AND PROTECTION OF PERSONS AND PROPERTY


                    9.1              Protection of Persons and Property

                            (a)     Contractor shall comply with all applicable terms and conditions of any safety
            requirements established by Owner from time to time.

                            (b)     Contractor shall protect its Work and materials by standard industiy methods so
           that same will not be marred by the work or workers of other trades during installation and until final
           acceptance of the Work. Contractoi- shall have full responsibility to install, protect and maintain all materials
           in proper condition and forthwith repair, replace and make good any damage thereto until final acceptance
           of the Work hereunder. Contractor shall also temporarily protect any permanently installed work that may
           be damaged during installation of Contractor’s Work hereunder. To the fullest extent permitted by law,
           neither Owner nor Architect will in any manner be answerable or accountable for any loss or damage that
           shall or may happen to the Work or any part or parts thereof respectively or for any of the materials or other
           things used and employed in finishing and completing the Work, or for injury to any person or persons,
           either workers or the public, or for damage to property.

                            (c)     Contractor further agrees that it will, during the perfonnance of the Work, take
           proper precautions to prevent injury or damages to persons or property, including all adjoining properties
           and structures. Contractor shall take all necessary steps to protect and secure its Work, materials, tools,
           scaffolding, equipment, buildings, trailers and work shacks from vandalism, theft and fire damage; to the
           fullest extent permitted by law, neither Owner nor Architect shall be responsible for losses or damages to
           such items.

                            (d)     Contractor assumes the risk of loss or damage, both direct or indirect, of whatever
            nature to the Work or to any materials and equipment furnished, used, installed or received by Owner or
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           Architect, for material men or workmen in preparation for and in performing services or furnishing
           materials and equipment for the Work. Contractor shall bear such risk of loss or damage until final
           acceptance of the Work by Owner.

                            (e)       In an emergency affecting the safety of person or property Contractor shall act, at
            Contractor’s discretion, to prevent threatened damage, injury or loss.

                             (f)     Contractor shall be responsible for seeing that its suppliers and Subcontractors of
            all tiers comply with the requirements of this Article.

                            (g)      Contractor shall immediately (on the same day) notify Owner of any accident
           resulting in bodily injui-y to its employees or persons or damage to any property regardless of cause or
           extent of bodily injury or damage to property and promptly furnish to Owner copies of the “Supervisor’s
           Accident Report” or its equivalent.

                    9.2     Hazardous Materials

                             (a)     Contractor shall not cause or permit the Project or the Project Site to be used to
           generate, manufacture, refine, transport, treat, store, handle, dispose, transfer, produce or process
           Hazardous Materials and Hazardous Substances, except in compliance with all applicable federal, state and
           local laws or regulations as required for completion of the Work, nor shall Contractor cause or permit, as a
           result of any intentional or unintentional act or omission on the pail of Contractor, or any Subcontractor or
           vendor, a release of Hazardous Materials and Hazardous Substances onto the Project Site or onto any other
           property. Contractor shall defend, indemnify, and hold hamless Owner and any Indemnitees from and
           against any claims, demands, penalties, fines, liabilities, settlements, damages, costs, or expenses of
           whatever kind or nature, known or unknown, contingent or otherwise, arising out of, or in any way related
           to (i) the presence, disposal, release, or threatened release of such Hazardous Materials and Hazardous
           Substances which are the responsibility of Contractor and are on, from or affecting the soil, water,
           vegetation, buildings, personal property, persons, animals, or otherwise, (ii) any bodily injury, personal
           injury (including wrongful death) or property damage (real or personal) arising out of or related to such
           Hazardous Materials and Hazardous Substances, (iii) any lawsuit brought or threatened, settlement reached,
           or government order relating to such Hazardous Materials and Hazardous Substances, (iv) any violation of
           laws, orders, regulations, requirements, or demands of government authorities, or any policies or
           requirements of the Indemnitees, which are based upon or in any way related to such Hazardous Materials
           and Hazardous Substances, and/or (v) in any way related to Contractor’s failure to perform its obligations
           hereunder, including, without limitation, attorney and consultant fees, investigation and laboratory fees,
           court costs, and litigation expenses. The provisions of this Section shall be in addition to any and all other
           obligations and liabilities Contractor may have at common law, and shall suiwive Final Completion of the
           Work.

                                                             ARTICLE 10

                                     INDEMNITY AND INSURANCE REQUIREMENTS


                    10.1    Insurance Requirements

                         The parties hereby agree that the Project shall be insured as set forth in the Insurance
           Requirements Exhibit hereto.
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                    10.2    Indemnity Requirements

                              (a)     To the fullest extent permitted by law, Contractor shall indemnify, defend (with
           counsel acceptable to Owner) and hold harmless Owner, Lender, all Additional Insureds, and such other
           entities as Owner may reasonably require from time to time, together with all entities and individuals
           owning a beneficial interest in such entities and their respective officers, partners, principals members,
           parents, affiliates, managers, shareholders, directors, agents, employees, servants, successors and assigns
           (collectively, “Indemnitees”, individually, “Indemnitee”) from and against all losses, claims (including
           without limitation those alleging injuiy to third parties or damage to property of third parties), demands,
           causes of action, lawsuits, liens, costs, charges, fines, penalties, damages (including without limitation any
           personal injury, sickness, disease or death, or damage or injury to, loss of or destruction of property, and
           the loss of use resulting therefrom, and damage to the Work and/or the work of others), expenses (including
           without limitation the deductible amount of any insurance, self-insured retention payments, attorneys’ fees
           and disbursements, court costs, expert witness fees and expenses, and any resulting settlement, judgment,
           or award), liabilities (including without limitation any economic loss suffered by the Indenmitees),
           obligations, actions and judgments (collectively, “Claims”), to the extent arising from, in connection with
           or relating to: (i) the performance (or non-performance) of the Work; (ii) any negligent or wrongful act or
           omission of Contractor, its employees. Subcontractors, representatives or other persons for whom
           Contractor is responsible; (iii) any breach of the Contract Documents by Contractor, its employees.
           Subcontractors, representatives or other persons for whom Contractor is responsible; (iv) any claim
           asserted, or lien or notice of lien filed, by any Subconti'actor or supplier of any tier against the Project, or
           against any Indemnitee in cormection with the Work; (v) any violation of Legal Requirements by
           Contractor, its employees. Subcontractors, representatives or other persons for whom Contractor is
           responsible; and (vi) failure to secure and pay for permits, fee approvals, licenses, and inspections as
           required under the Contract Documents, or any violation of any permit or other approval of a public
           authority applicable to the Work by Contractor, its employees. Subcontractors, representatives or other
           persons for whom Contractor is responsible. Such obligations shall arise regardless of any claimed liability
           on the part of an Indemnitee, provided, however. Contractor shall not be required to indemnify any
           Indemnitee to the extent attributable to such Indemnitee’s negligence. Such obligation shall not be
           construed to negate, abridge, or otherwise reduce any other right or obligation of indemnity which would
           otheiwise exist as to any Indemnitee.

                            (b)     In any and all claims against any Indemnitee by any employee of Contractor or of
           its Subconfractors or anyone directly or indirectly employed by either Contractor or its Subcontractors or
           anyone for whose acts either Contractor or its Subcontractors may be liable, the indemnification obligation
           herein shall not be limited in any way by any limitation on the amount or type of damages, compensation
           or benefits payable by or for Contractor under workers’ compensation acts, disability acts or other employee
           benefit acts.

                            (c)     No provision requiring the furnishing of insurance shall be construed to affect,
           impair, or excuse Contractor’s obligation to indemnify and save the Indemnitees as set forth above; any
           amounts payable to the Indemnitees by reason of the application of the indemnification provisions herein
           shall be paid promptly upon the arising of Contractor’s obligations under such provisions. If a Claim is
           asserted against any Indemnitee, Owner may withhold from any payment under this Contract an amount
           sufficient to protect and indemnify the Indemnitees to the full extent required under the indemnification
           provisions herein. Should Contractor fail to perform its duties to defend and indemnify any of the
           Indemnitees as required herein, and upon written notice by Owner of such failure and allowing reasonable
           time for Contractor to cure. Owner and the other Indemnitees may defend or settle such claims as they deem
           prudent, in the exercise of reasonable judgment, and Contractor agrees to be bound by any such defense,
           settlement, judgment, or award that may result from such action by Owner or the other Indemnitees.
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                           (d)     The indemnity obligations herein shall survive the completion of performance
           under, and termination of, this Contract. Contractor shall require that all Subcontractors it retains defend,
           indemnify, and hold harmless the Indemnitees to the same extent that Contractor is required to defend,
           indemnify and hold harmless the Indemnitees hereunder.

                            (e)      Contractor shall reimburse the Indemnitees for all costs, expenses and attorneys’
            fees incurred pursuing or enforcing any of the provisions of this Section.

                    10.3    Surety Bonds

                           (a)      As a condition of this Contract, Owner may require Contractor to furnish, on
           demand, a performance bond and a separate payment bond, which payment bond shall provide a direct right
           of action against the surety by a claimant. Any requirements for same shall be identified in the Contract
           Documents where applicable.

                                                             ARTICLE 11

                                              SHOP DRAWINGS AND SAMPLES


                    11.1             General Requirements

                           (a)    Contractor shall review, approve, stamp and submit through Architect or Owner
           promptly, in accordance with agreed and approved schedules for submissions, and in all events in such
           sequence as to not cause any delay whatsoever in the Work of Owner, or of any separate contractor, all
           shop drawings, coordination drawings, product data and samples required to complete the Work.

                             (b)     By approving, stamping and submitting shop drawings, product data and samples.
           Contractor represents that it has determined and verified all materials, field measurements, and field
           construction criteria related thereto and that it has checked and coordinated the information contained
           within such submittals with the requirements of the Work and of the Contract Documents and with the
           requirements of other sections or trades related thereto as may be required for the proper and complete
           installation of the Work. Contractor agrees to review the shop drawings of Subcontractors as necessaiy for
           proper interfacing on the Project.

                           (c)     If either Owner or Architect finds shop drawings or submittals not to be complete
           or in proper form, they may return them to Contractor for immediate correction or completion and
           Contractor hereby agrees to immediately correct or complete same, as the case may be, and resubmit same.
           Any delays resulting from such incomplete or incorrect submissions shall be the responsibility of Contractor
           and such submissions shall only be deemed submitted for purposes of satisfying Contractor’s obligations
           hereunder with respect thereto when they are submitted in correct, complete and proper fonn.

                            (d)     Contractor shall not be relieved of responsibility for any deviation from the
           requirements of the Contract Documents by the forwarding of shop drawings, product data or samples to
           Architect, or by Architect’s approval thereof unless Contractor has given written notice thereof to Architect
           and Owner at the time of submission and Architect and/or Owner has given written approval to the specific
           deviation.

                           (e)     No portion of the Work requiring submission of a shop drawing, product data or
           sample shall be commenced until the submittal has been approved in writing by Architect or Owner. All
           such portions of the Work shall be performed strictly in accordance with approved submittals.
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                            (f)     Architect shall furnish to Contractor from time to time such further drawings or
           explanations as may be necessary to detail and illustrate the Work, and Contractor shall conform to the
           same as part of this Contract without additional cost. Contractor shall exercise the utmost diligence to obtain
           in a timely manner all drawings and other information necessary to fulfill the Work.

                             (g)     Architect’s review of shop drawings, product data, samples and calculations and
           on-site observation of the construction work is to determine if Contractor’s submittals and Work appear to
           be in general conformance with the design concept set forth in the Contract Documents prepared by
           Architect. It is understood that Architect’s review shall not be considered to be complete in every detail or
           exhaustive and shall also not relieve any Contractor, Subcontractor, manufacturer, supplier, fabricator,
           consultant, or third party from responsibility for any deficiency that may exist or for any departures or
           deviations from the requirements of the Contract Documents or for the responsibility to coordinate the
           Work, or portion of the work, of one trade with another.

                            (h)    All charges in connection with the delivery of shop drawings to Owner’s office
           shall be paid by Contractor and are included in the Contract Sum.

                    11.2    Sample Requirements

                            Contractor shall furnish, for the approval of Architect and Owner, all such samples as may
           be required in the Contract Documents or if otherwise required by Owner. In such case, samples shall be
           submitted from the same source which will supply the actual job. Samples shall be of adequate size to show
           quality, type, color, range, finish, texture and other specified characteristics.

                                                          ARTICLE 12

                                                      SUBCONTRACTING


                    12.1            Subcontractors

                          (a)      All work to be performed by any subcontractor shall be by written confract
           complying with all requirements of this Contract.

                           (b)    Unless otherwise agreed or specified in the exhibits hereto, before entering into
           any Subcontract, Contractor shall submit to Owner for Owner’s approval in its reasonable discretion the
           following information with respect to the proposed Subcontractor:

                                    (i)     the name and address of the Subcontractor;

                                 (ii)     a description of the portion of the Work and type of activity to be
           performed by the Subcontractor; and

                                  (iii)   such other information as is necessary to meet the pre-qualification or
           other requirements of Owner or Lender.

                           (c)     Approval by Owner does not relieve Contractor of its responsibility for the Work
           or any other Contractor obligation under this Contract.

                          (d)     Contractor shall have full responsibility for all portions of the Work performed by
           every Subcontractor and for all acts and omissions (whether willful, negligent, or otherwise) of every
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           Subcontractor and such Subcontractor’s employees. All work, acts, omissions, and statements, written or
           oral of every Subcontractor and such Subcontractor’s employees shall be deemed those of Contractor for
           all purposes of the Contract.

                             (e)    Without limitation as to all other requirements of this Contract, Subcontractors
           shall carry the insurance required by this Contract unless otherwise agreed by Owner in advance.

                            (f)     Contractor’s execution of any Subcontract shall be deemed a representation to
           Owner that Contractor has informed the Subcontractor fully and completely of all requirements of this
           Contract relating directly or indirectly to the Subcontractor’s work.

                          (g)     Nothing contained in this Contract shall create any relationship of contract or
           agency between Owner and any Subcontractor, notwithstanding Owners’ approval of any Subcontractor.
           Contractor acknowledges and agrees that Owner shall have no obligation whatsoever to supervise or deal
           with any Subcontractor or its employees or to pay any Subcontractor or its employees. No dealings of any
           kind whatsoever between Owner or Architect and any Subcontractor shall be deemed a waiver of the
           foregoing by Owner.

                             (h)     Contractor hereby assigns to Owner (and to Lender) all its interest in any
           Subcontracts for performance of any part of the Work, which assignment will be effective upon acceptance
           of Owner (or Lender) in writing and only as to those Subcontracts which Owner (or Lender) designates in
           said wilting. It is agreed and understood that Owner (or Lender) may accept said assignment at any time
           during the course of construction prior to Final Completion. All Subconti’acts shall include language
           acknowledging the assignment set forth in this Section.

                             (i)   Contractor hereby agrees to include the following provisions in every Subcontract
           and/or purchase order relating to the purchase by Contractor of materials, merchandise, goods or products
           to be installed and made a part of the improvement of premises hereunder:

                                     (i)     Subcontractor expressly agrees that Owner and Lender shall be third-party
           beneficiaries of all of the obligations of the Subcontractor hereunder, including without limitation, the
           beneficiary of all warranties, expressed or implied, which Subcontractor makes hereunder relating to
           materials, equipment, goods, merchandise or products (“Materials”) to be sold hereunder by Subcontractor.
           Nothing herein shall be construed to make this an agreement between Lender, or Owner, and Subcontractor
           except to the extent provided in the immediately preceding sentence and Subcontractor acknowledges that
           it has no contractual rights, expressed or implied, that it can assert against Lender, or Owner; and

                                      (ii)   Without limiting in any manner any obligations of Subcontractor with
           respect to the quality of the Materials, Subcontractor expressly warrants and agrees that the Materials to be
           furnished hereunder shall be merchantable and shall be fit for the purpose for which such Materials are
           purchased.
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                                                           ARTICLE 13

                                               DEFAULT AND TERMINATION


                 13.1    Owner’s Right to Stop the Work and Perform the Work in the Event of Default;
           Termination for Cause

                            (a)     In the event of Contractor’s default hereunder by its failure to perform any task or
           obligation required hereunder, Owner may, without prejudice to any other remedy Owner may have, upon
           two (2) business days prior written notice to Contractor, but shall not be obligated to, perform or cause to
           be performed such task or obligation and charge Conh-actor for all costs and expenses incun-ed by Owner,
           Lender and Ai’chitect in connection therewith. In such case. Owner shall deduct from the payment then or
           thereafter due to Contractor all costs and expenses incurred by Owner, Lender, and Architect in correcting
           such deficiencies, including compensation for Architect, and its consultants and/or Owner’s other
           consultants for additional services made necessary by such default, neglect or failure. If the payments then
           or thereafter due to Contractor are not sufficient to cover such amounts. Contractor shall pay the difference,
           after demand therefor to Owner.

                             (b)     If Contractor fails to correct defective Work as required elsewhere hereunder or
           persistently fails to carry out the Work in accordance with the Contract Documents, Owner, by a written
           order signed by Owner, may order Contractor to stop the Work, or any portion thereof, until the cause for
           such order has been eliminated; however, this right of Owner to stop the Work shall not give rise to any
           duty on the part of Owner or its agents to exercise this right for the benefit of Contractor or any other person
           or entity.

                            (c)      Should Contractor be adjudged bankrupt, or make a general assignment for the
           benefit of creditors, or should a petition under the Bankruptcy Act or under any other act relating to
           insolvency be filed by or against Contractor, or should a receiver be appointed on account of its insolvency,
           01’ should Contractor at any time refuse or neglect to supply a sufficiency of properly skilled workmen or
           materials of the proper quality and quantity, or fail in any respect to prosecute the Work in accordance with
           the Project Schedule, or fail to pay its Subcontractors suppliers or laborers amounts due and owing, or fail
           to pay amounts due pursuant to any collective bargaining agreement or any other agreement which requires
           Contractor to pay dues or fringe benefits in connection with labor, or fail in the performance of any of the
           obligations on its part herein contained. Owner may, if Contractor fails to cure such default within five (5)
           business days after receipt of written notice from Owner (or within one (1) calendar day after receipt of
           written notice from Owner if the default involves any breach of safety laws, regulations or requirements),
           in addition to any other rights provided hereunder or otherwise by law, stop the Work and/or terminate this
           Contract, and cause the Work to be performed and completed and deduct the cost thereof from any money
           due or thereafter to become due to Contractor for the said Work. In addition. Owner may enter upon the
           Site and take possession of all materials, tools and equipment of eveiy kind whatsoever thereon, and employ
           any other person or persons to finish the Work, and to provide the materials therefor. In the event of
           termination under this Section, Contractor shall not be entitled to receive any further payment under this
           Contract even if there is a balance remaining under this Contract until all costs, expenses, losses and
           damages have been deducted. In addition, if the expenses incurred by Owner in finishing the Work shall
           exceed the unpaid balance of the amount to be paid under this Contract, Contractor shall pay the difference
           to Owner. Upon the termination of this Contract, Owner may engage Contractor’s Subcontractors and
           suppliers to complete the Work. The liability of Contractor shall extend to and include, without limitation,
           the full amount of the costs and other liabilities incuived and obligations assumed in good faith under the
           reasonable belief that such costs, liabilities or obligations were necessary or required, whether or not they
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           were in fact necessary or required. An itemized statement of such obligations, liabilities and payments shall
           be prima facie evidence of Contractor’s liability.

                           (d)     Contractor shall not interfere, directly or indirectly, with Lender’s or Owner’s right
           and attempt to complete the Work by others.

                            (e)     The failure of Contractor to include any requirement in a Subcontract which it is
           required to include as set forth in this Contract shall constitute grounds for termination for cause under this
           Contract.

                           (f)     Should any termination for default pursuant to this Section be determined to be
           invalid, improper or wrongful, such termination shall be deemed to have been a tennination without cause
           as provided herein.

                      13.2   Termination Without Cause

                            (a)     Owner may terminate this Contract, in whole or in part, at any time without reason,
           even though Contractor is not in default hereunder upon written notice from Owner setting forth the
           effective date of the termination. In such event. Contractor shall take the following actions or such other
           actions as reasonably requested by Owner:

                                     (i)      stop all Work under this Contract on the date, and to the extent, specified
           in the notice of termination;

                                   (ii)     enter into no further Subcontracts except as may be necessaiy for
           completion of such portion of the Work under this Contract, if any, which is not terminated;

                                    (iii)   obtain Owner’s dhection as to whether to terminate any Subcontracts or if
           Owner will be accepting assignment of same, and if tenninating, settle all outstanding liabilities and all
           claims arising out of such tennination.

                             (b)     In the event of a termination of this Contract pursuant to the provisions of this
           Section:

                                     (i)     neither Contractor or any Subcontractor shall be entitled to recover
           anticipated profits on account of Work unperfonned or on account of material or equipment not purchased,
           nor for reimbursement for losses arising out of matters covered by insurance, but shall be limited to
           recovering only the reasonable and actual approved out-of-pocket costs and expenses incuiTed by such
           Subcontractor for Work satisfactorily performed or materials, supplies and equipment procured, ordered,
           fabricated, incorporated or installed in the Project prior to the effective date of such termination, along with
           reasonable and verifiable demobilization and closeout expenses;

                                     (ii)     Contractor shall use its best efforts to sell, in the manner, at the times, to
           the extent, and at the price or prices directed or authorized by Lender or Owner, fabricated or unfabricated
           parts and materials, Work in progress, completed Work, supplies and other materials and equipment
           produced as a part of, or acquired in connection with the performance of, the Work; provided, however,
           that Contractor (x) shall not be required to extend credit to any purchaser, and (y) may acquire any such
           property under the conditions prescribed and at a price or prices approved by Lender or Owner; and
           provided, further, that the proceeds of any such transfer or disposition shall be applied in reduction of any
           payments to be made by Owner to Contractor under this Contract;
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                                    (iii)   complete performance of such part of the Work as shall have been
           specified in the notice of termination to be completed on or before the effective date of such termination;
           and

                                    (iv)    prior to the effective date of such termination, take such actions as may be
           necessary, or as Lender or Owner may reasonably direct, for the protection and preservation of the property
           related to the Work and the Project which is in the possession of Contractor and in which Lender or Owner
           has or may acquire an interest.

                            (c)      In the event of termination pursuant to this Section, Owner shall pay Contractor
           for the Work performed prior to the effective date of such termination (it being agreed that in no event shall
           such payment exceed the percentage of the Contract Sum equal to the percentage of Work completed), and
           all costs incurred with Owner’s prior written approval in settling or discharging commitments entered into
           in good faith by Contractor in connection with performance of the Work; provided that the workmanship,
           materials and equipment for which payment is to be made as aforesaid are in accordance with the
           requirements of this Contract. There shall be deducted from the amount determined above all payments
           previously made and all amounts which Owner is entitled to charge Contractor under this Contract. In no
           event shall the amount to be paid to, or for the account of. Contractor pursuant to this Section plus all
           amounts previously paid Contractor under this Contract exceed the Contract Sum, as adjusted. In the event
           of termination prrrsuant to this Section, Contractor shall remain responsible for all of its obligations and all
           Work performed prior to the date of such termination.

                    13.3             Suspension of the Work

                   Owner may, at any time and for any reason, direct Contractor to suspend or re-sequence the Work
           or any portion thereof for a period of time, and Contractor shall comply with such request immediately
           upon notice thereof. Such direction shall be in writing and shall, if applicable, specify the period during
           which the Work is to be suspended (the “Suspension Period”). Contractor shall resume the Work upon the
           date specified in such direction or upon such other date as Owner may thereafter specify in writing. A
           suspension pmsuant to this Section shall be recognized as a Contemplated Delay.

                    13.4             Termination by Contractor

                    If, without good cause. Owner fails for a period of thirty (30) calendar days after the due date to
           make payment on any approved Application for Payment, then Contractor shall immediately serve Owner
           and Lender with notice thereof, and, if Owner shall fail to make such payment within fifteen (15) calendar
           days after receipt of such notice, then this Contract may be teiminated by Contractor by written notice to
           Owner and Lender setting forth the date of termination, which date shall not be sooner than fifteen (15)
           calendar days after the date of the notice. If, within said fifteen (15) calendar day period, the matter giving
           rise to Contractor’s right to terminate this Contract shall not have been cured or discontinued, Contractor
           shall be deemed terminated for convenience and Contractor shall be compensated in the manner and to the
           extent set forth herein.
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                                                          ARTICLE 14

                                                         WARRANTIES


                    14.1            Warranties

                             (a)      Contractor warrants to Owner, Lender and Architect that all materials and
           equipment furnished under this Contract will be new unless otherwise specified and that all Work will be
           of first-class quality, free from faults and defects and in conformance with the Contract Documents. All
           Work not conforming to those requirements, including substitutions not properly approved and authorized,
           may be considered defective. If required by Owner, Lender, or Architect, Contractor shall furnish
           satisfactory evidence as to the kind and quality of materials and equipment supplied hereunder.

                            (b)     Contractor hereby agrees that all warranties and guarantees in this Contract, or in
           respect of the Work and materials covered hereby, made by Contractor shall inure to the benefit of Owner,
           and to assignees and/or designees of Owner, including, without limitation, to Owners partners if applicable
           who will be third-party beneficiaries of such warranties and guarantees and may enforce directly against
           Contractor all such warranties and guarantees without set-off or defenses of Contractor by reason of any
           dispute between Contractor and Owner including but not limited to payment by Owner to Contractor of all
           or part of any monies alleged due and owing pursuant to this Contract.

                             (c)     If, within one (1) year after the date of Final Completion of the Project or
           designated portion thereof (or if this Contract is earlier terminated, within one (1) year following the date
           of such earlier termination), or within such longer period of time as may be prescribed by the terms of any
           applicable special warranty required by the Contract Documents, any of the Work is found to be defective
           or not in accordance with the Contract Documents, Contractor shall correct it promptly after receipt of a
           written notice from Owner to do so, and Contractor will furlher repair any Work or damages as a result of
           said defective or improper workmanship or material, or damage in connection with the repair of same at no
           cost to Owner. This obligation shall survive both final payment for the Work or designated portion thereof,
           and termination of the Contract.

                           (d)     Contractor shall obtain and deliver to Owner any specific warranties given by its
           Subcontractors or suppliers which shall expressly provide that they are for the benefit of and enforceable
           by Owner and Lender, and their successors, assigns and/or designees, as well as Contractor.

                           (e)     If Lender, or Owner shall perform or aiTange for the performance of corrective
           work required to be performed by Contractor but which Contractor has failed or refused to perform, upon
           due notice. Contractor’s warranties and guarantee hereunder shall not be affected in any manner, and
           Contractor hereby expressly waives all claims that its warranties or guarantee were impaired due to the
           con-ective work performed by, or at the direction of Lender, or Owner.

                           (f)      The warranties and guarantee provided for in the Contract Documents are in
           addition to and not a limitation of any rights Owner or Lender may have under the terms of the Contract
           Documents.
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                                                          ARTICLE 15

                           RIGHT TO PERFORM WORK AND AWARD SEPARATE CONTRACTS


                    15.1            Right to Perform Work and Award Separate Contracts

                    Owner reseiwe the right to perfonn work related to the Project with their own forces and to award
           separate contracts in connection with other portions of the Project or other work on the Site under these or
           similar conditions whether or not similar to the type of work called for under this Contract with appropriate
           adjustment to the Contract Sum. Contractor shall afford Owner and other separate contractors the
           oppoilunity to install or cause the installation of equipment or furnishings in the Project, provided that such
           installation shall not materially interfere with Contractor’s performance of its obligations. The requirements
           of this Article shall be included in all Subcontracts.

                                                           ARTICLE 16

                                                              LENDER


                    16.1            Cooperation With Lender

                    For the purposes of this Contract “Lender” shall mean any institution providing financing or
           favorable tax treatment in connection with the constiuction of the Project. Contractor shall cooperate with
           Lender and, at the request of Owner, supply or cause to be supplied information and documentation such
           as change orders, contracts and purchase orders. Contractor’s Applications for Payment, and the names of
           all parties Contractor engages to perfoim the Work. Contractor may be required to perform its obligations
           under this Contract for the benefit of and to the satisfaction of Lender as well as Owner. Contractor shall
           make such changes, modifications or amendments to this Contract as may be reasonably requested by
           Owner or Owner acting at the request of Lender. Contractor shall cooperate and shall cause its
           Subcontractors to cooperate with Lender, as well as any consultant employed by Lender.

                                                           ARTICLE 17

                                                 ADDITIONAL PROVISIONS


                    17.1            Damages

                            (a)    If the Contractor fails to achieve Substantial Completion within two (2) weeks
           following the Substantial Completion Date set forth in the Project Appendix, from and after such date
           Contractor shall pay Owner liquidated damages in the amount set forth in the Project Appendix. Contractor
           agrees that damages to the Owner from Contractor’s failure to achieve the Substantial Completion date
           would be material and difficult to fully ascertain, and further agrees that the foregoing amount of liquidated
           damages is a reasonable approximation of the damages that would be suffered by the Owner and is not a
           penalty.

                            (b)      Except for liquidated damages due pursuant to the preceding section and except
           for any other specific provision in this Contract, Contractor and Owner waive claims against each other for
           consequential damages arising out of or relating to this Contract including losses of use, income, profit,
           financing, business and reputation, compensation of personnel. For the avoidance of doubt, the foregoing
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           waiver has no bearing upon and shall not be used to construe or limit in any manner Owner’s entitlement
           to liquidated damages regardless of the nature of harm suffered by Owner.

                    17.2            Notices and Project Communications

                            (a)      All notices hereunder shall be submitted in writing and personally delivered or sent
           by registered or certified mail, postage prepaid, or sent by a nationally recognized overnight courier service,
           addressed to the Parties and copy recipients set forth in the Project Appendix. Notices hereunder shall also
           be simultaneously transmitted to each Party’s primary point of contact via email.

                            (b)      Either party may change the address or addresses to which notice shall be delivered
           under this Contract by giving notice in accordance with this Ailicle. All notices shall be deemed to have
           been given when received or refused if delivered personally or by nationally recognized overnight courier
           seiwice, and five (5) calendar days after mailing if sent by registered or certified mail.

                            (c)     Each Party’s primary point of contact for the Project is identified in the Project
           Appendix.

                    17.3            Prohibition of Assignment of Contractor’s Obligations

                           Contractor shall not subcontract, assign or transfer this Contract or Contractor’s obligations
           under this Contract. Subcontracts are solely for performance of the work.

                    17.4            Assignment by Owner

                           Owner may assign this Contract to Lender or any other entity at any time, upon written
           notice to Contractor.

                    17.5            Approval

                    Notwithstanding anything in the Contract Documents to the contraiy, whenever Owner’s approval
           is specified, required and/or otherwise noted in this Contract, it shall mean that such approval is required
           in writing.

                    17.6            Confidentiality, Project Information and Project Documents

                              (a)     Contractor shall keep confidential (and will require its employees, agents, and
           Subcontractors to keep confidential), and shall not copy or disclose to any third party without Owner’s prior
           approval, unless such disclosure is necessaiy in the proper performance of Contractor’s Work under this
           Contract, any information concerning (a) the business plans or business operations of Owner and/or any of
           their affiliates, (b) any space planning or programming or intended use of any portion of the Project or the
           Project Site, (c) any findings of Contractor in connection with the Work, and/or (d) the operations and use
           of the Project Site. Any information heard, obtained from observation or otherwise received, regarding any
           of the foregoing is considered confidential information for purposes of this paragraph.

                             (b)     Contractor further agrees not to publicly disclose any information with respect to
           the Project or the Project Site, including issuance of any public relations or press releases or other publicity
           and advertising, without the prior written consent of Owner, provided that Contractor may disclose
           information as necessaiy to the appropriate governmental authorities in an application for a permit,
           approval, or clearance and/or in connection with the performance of its Work under this Contract.
           Contractor is specifically prohibited from using images of the Project and/or photographs of any portion of
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           the Work for publicity or advertising or for any other purpose without the prior written permission of
           Owner, however, Contractor may include a description of its involvement with the Project in its company
           resume to prospective clients. Contractor further agrees not to display on or about the premises any sign,
           trademark or other advertisement, and to remove eveiything of an advertising nature when so directed by
           Owner.

                            (c)      Contractor agrees that the Contract Documents, technical data and other
           information received by it from Owner, Architect, and other consultants under or in connection with this
           Contract and any and all other information concerning Owner or Owner’s operations that Contractor may
           obtain or become aware of shall be accepted and treated as proprietary information which has a substantial
           commercial value to Owner, and that Contractor will not use or disclose any such Contract Documents,
           technical data and other information in any manner except to the extent that such use or disclosure may be
           necessary for the performance of the Work hereunder. Without limitation of the foregoing, all said
           documents furnished to Contractor are to be used only with respect to this Project and are not to be used on
           or in connection with any other project. Submission or distribution of documents to meet official regulatory
           requirements or for other proper and necessaiy purposes in connection with the performance of the Work
           at the Project shall not be construed as a violation of this Section.

                           (d)      Any and all drawings, specifications, plans, reports, sketches and other documents
           in connection with the Work that are prepared by Contractor and its Subcontractors (collectively the
           “Project Documents”) shall be deemed the property of, and owned by. Owner. Upon completion of the
           Work, or earlier teimination thereof. Contractor shall deliver to Owner all materials it has obtained from
           Owner and/or third parties relating to the Work. Contractor shall furnish copies of the Project Documents
           immediately upon the request of Owner, and shall otherwise afford Owner access to the Project Documents
           on reasonable notice. Contractor shall preserve the Project Documents for a period of six (6) years after
           final payment, or for such longer period as may be required by law.

                          (e)      Nothing herein shall preclude Contractor from disclosing information, technical
           data or documents that are required to be disclosed by applicable law or judicial process.

                          (f)    The requirements of this Article shall suivive the termination of this Contract and
           shall be binding upon the parties. Contractor shall include the requirements of this Article in all
           Subcontracts.

                      17.7          Binding Effect

                   This Contract shall bind and inure to the benefit of the parties hereto, their heirs, personal
           representatives, successors and pennitted assigns.

                      17.8          Choice of Forum and Governing Law

                             (a)    The Contract shall be governed by the laws of the state where the Project Site is
           located.

                              (b)      Contractor hereby (i) irrevocably consents to the jurisdiction of the courts of the
           location of the Project Site, for all purposes in connection with any action or proceeding which arises from
           or relates to this Contract; (ii) waives knowingly and voluntarily for itself and all persons claiming by or
           through it, all right to a juiy in any judicial proceedings; and (iii) waives any right it may have to personal
           service of summons, complaint, or other process in connection therewith, and agrees that service may be
           made by registered or certified mail addressed to Contractor at its last known principal place of business.
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                    17.9            Severability

                    If any provision of the Contract Documents is invalid or unenforceable as against any person or
           party, the remainder of the Contract Documents and the applicability of such provision to other persons or
           parties shall not be affected thereby. Each provision of the Contract Documents shall, except as othei-wise
           herein provided, be valid and enforceable to the fullest extent permitted by law.

                    17.10           Rights and Remedies

                           (a)     The duties and obligations imposed by the Contract Documents and the rights and
           remedies available thereunder shall be in addition to, and not a limitation of, any duties, obligations, rights
           and remedies otherwise imposed or available under applicable law.

                           (b)      In the event that Contractor fails to meet any of its obligations under the Contract
           Documents, Owner may, in its sole discretion and at Owner’s option, back-charge Contractor for the costs
           incurred by Owner as a result of such failure by Contractor by either charging to Contractor the cost thereof
           or deducting such costs from amounts due Contractor under this Contract.

                           (c)      Notwithstanding any other provisions under the Contract Documents, Owner shall
           have the absolute right to offset any amounts due hereunder or under any Change Order against any sums
           due from Owner to Contractor under this Contract.

                           (d)     Upon a breach by Contractor of any of the terms contained in the Contract
           Documents, (i) Owner shall have the right to exercise any and all rights and remedies under applicable law
           or equity, and (ii) Contractor shall bear all costs, fees and expenses incurred by Owner, Lender, and
           Contractor in connection with enforcing their rights under the Contract Documents and with respect to the
           Work.

                    17.11           No Waiver

                   No action or failure to act by Owner, Lender, or Architect shall constitute a waiver of any right or
           duty afforded any of them under the Contract, nor shall any action or failure to act constitute an approval
           of or acquiescence in any breach hereunder, except as may be specifically agreed to in writing.

                    17.12           Survival

                   The obligations of Confractor hereunder, including without limitation obligations concerning
           indemnity, warranties, confidentiality, the provision of information and documentation to Owner as
           required by this Contract, discharge of liens and defense of Lender and/or Owner in connection with all of
           the foregoing, shall suiwive the expiration or earlier termination of this Contract.

                    17.13           Cooperation with Owners Partners

                    Contractor acknowledges that Owner may be required to obtain the approval of Owners partners
           before taking any action or issuing any approval contemplated by this Contract. Contractor may be required
           to perform its obligations under this Contract for the benefit of and to the satisfaction of Owners partners
           as well as Owner. Contractor shall make such changes, modifications or amendrnents to this Contract as
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           may be reasonably requested by Owner or Owner acting at the request of Owners partners. In no event,
           however, shall any such changes, modifications or amendments agreed to by Contractor pursuant to this
           paragraph decrease the compensation payable to Contractor hereunder- or materially increase the obligations
           of or liabilities of Contractor. Contractor shall cooperate and shall cause its Subcontractors to cooperate
           with Owners partners, as well as any consultants employed by Owners partners.

                    17.14            Attornment by Contractor

                    Contractor agr-ees that, if Owner shall default under the provisions of this Contract in a way that
           would give Contractor the right to terminate this Contract, Contractor shall continue to perform its
           obligations under this Contract for Owner or Lender if Owner or Lender shall cure any such default by
           Owner within thii-ty (30) calendar days after notice from Contractor to Owner or Lender. Owner or Lender
           shall agree in writing to perfoim all obligations of Owner after the date Owner or Lender succeeds to
           Owner’s rights and obligations. If requested to do so by Owner or Lender, Contractor will confirm to Owner
           or Lender its commitment to continue performance under this Section.

                    17.15            Services to Continue During Pendency of Disputes

                    In the event of any dispute under the Contract, including but not limited to disputes as to whether
           any item or portion of the Work is within the scope of the Work to be performed by Contractor or whether
           Contractor is entitled to additional compensation or an extension of time in which to perform the Work,
           Contractor shall continue to proceed diligently with the performance of the Work, this Contract, and any
           disputed Work, pending the resolution thereof. The existence of a dispute shall not be grounds for any
           failure to perform by Contractor nor limit the right of Owner to proceed to remedy any default by
           Contractor. Owner shall continue to pay undisputed amounts drrring the pendency of such disputes.

                    17.16            Limitation of Action

                            (a)      No action or proceeding shall lie or be maintained by Contractor against Owner,
           Lender, Architect or any Indemnitee upon any claim arising out of or based upon this Contract or by reason
           of any act or omission or any requirements relating to the giving of notices or information required
           hereunder, unless such action or proceeding shall be commenced within two (2) years after the earlier of (i)
           the last date that Contractor furnishes material or performs labor at the Project; or (ii) the issuance of a
           temporary certificate of occupancy (or permanent certificate of occupancy if no temporai-y certificate of
           occupancy is issued) for the Project; or (iii) the date that this Contract is terminated. This Section shall not
           be deemed or construed to modify any statutoiy deadline for the filing or prosecution of lien claims, or any
           other provision hereof relating to waivers of claims by Contractor. Contractor shall cause each Subcontract
           to contain like provisions to this Article and a provision requiring like provisions to be contained in
           Subcontracts of any tier.

                            (b)     As a condition precedent to bringing a claim for damages, monetary or otherwise,
           by reason of any act or omission of Owner, Lender, Architect or their consultants or agents. Contractor
           must notify Owner in writing that the act or omission may cause Contractor to sustain damages within five
           (5) business days after Contractor has actual knowledge, or should have known, that such act or omission
           may cause Contractor to sustain damages, monetary or otherwise. In addition, within thirty (30) calendar
           days thereafter or within such additional time in excess of thirty (30) calendar days as may be granted by
           Owner upon written request of Contractor, Contractor must submit to Owner verified detailed statements
           of the damages sustained and documenting evidence supporting such claim for damages and must further
           comply with the provisions herein relating to changes in the Work.

                   17.17            Entire Contract; Merger
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                    This Contract contains the entire understanding between the parties and supersedes any agreements,
           statements, commitments, or proposals heretofore had between the parties and may not be changed orally.
           Any and all Work performed by Contractor heretofore in anticipation of entering into this Contract are
           hereby merged into this Contract and shall be governed by the terms and conditions set forth herein effective
           as of the date of performance of such Work.

                    17.18           Integrity and Ethical Conduct

                           (a)      Contractor acknowledges and understands that Owner is committed to have the
           Work performed in accordance with the highest ethical standards applicable to, or governing, the conduct
           of construction practices and Contractor agrees to perform the Work and will require each Subcontractor
           to perform the Work in accordance therewith.

                           (b)      During the course of performing Work in accordance with this Contract,
           Contractor agrees to maintain business ethics standards aimed at avoiding any impropriety or conflict of
           interest which could be constraed to have an adverse impact on Owner’s or Lender’s best interests.

                            (c)     Contractor employees, agents. Subcontractors, material suppliers (or their
           representatives) should not make or cause to be made any cash payments, commissions, employment, gifts,
           entertainment, free travel, loans, free work, substantially discounted work, or any other considerations to
           Owner or Owner’s representatives, employees or their relatives. Contractor employees, agents or
           Subcontractors (or their relatives) should not receive any cash payments, commissions, employment, gifts,
           entertainment, free travel, loans, free work, or substantially discounted work or any other considerations
           from representatives of Subcontractors, or material suppliers or any other individuals, organizations, or
           businesses receiving funds in connection with the Project.

                           (d)     Contractor agrees to provide notice to Owner within two (2) business days of any
           instance where the Contractor becomes aware of a failure to comply with the provisions of this Section.

                           (e)    Contractor shall permit interviews of employees, reviews and audits of accounting
           or other records by Owner representative(s) to evaluate compliance with the business ethics standards.
           Upon Owner request. Contractor agrees to implement a program requiring their employees sign
           acknowledgements that they have read and understand the provisions outlined in this Section.

                    17.19           Independent Contractor

                    It is expressly understood and agreed by the parties hereto that Contractor, in performing its
           obligations under this Contract, shall be deemed an independent contractor. Nothing contained in this
           Contract shall be construed to mean that Owner and Contractor are joint venturers or partners. Contractor
           shall incoiporate the foregoing in all Subcontracts.

                    17.20           Practice of Architecture and/or Engineering

                   Nothing contained in this Contract shall be deemed to require or authorize Contractor to perform
           or do any acts which would be deemed the practice of architecture or engineering within the meaning of
           the laws of the State where the Project is located. Such limitation shall not apply to engineering seiwices
           properly delegated pursuant to the laws of the State where the Project is located.

                    17.21           Anti-Corruption
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                           (a)      In the performance of this Contract, Contractor shall comply and shall instruct and
           direct its members, affiliates, officers, directors and employees, and agents or representatives, if any, to
           comply with all applicable anti-cormption laws;

                            (b)      Neither Contractor nor its members, affiliates, officers, directors and employees,
           and agents or representatives, if any, in connection with work or services for Owner, has taken or will be
           authorized or directed to knowingly (based on Contractor’s actual knowledge) take any actions in
           furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of anything of
           value, either directly or indirectly, to any person while knowing that all or some portion of the money or
           value will be offered, given or promised to anyone to improperly influence official action or otherwise to
           secure any improper advantage;

                            (c)     Throughout the duration of this Contract, neither Contractor nor any of its officers,
           directors, employees, or members, is or will, with the knowledge of Contractor, be owned, directly or
           indirectly, in whole or in part, or controlled by, any government or, unless disclosed to Owner in writing,
           any government official;

                            (d)      Neither Contractor nor any of its members, directors, officers, and employees, nor
           will Contractor permit any of its agents or representatives, if any, or any of its affiliates will use Owner
           funds, either directly or indirectly, for any purpose that would violate applicable anti-cormption laws;

                             (e)     Contractor shall notify Owner promptly if at any time it obtains actual knowledge
           or suspects that the foregoing representations and warranties shall not be tme and correct.

                            (f)    Contractor shall create and maintain precise and accurate books and financial
           records in connection with the seiwices performed under this Contract. Upon two (2) days’ prior notice.
           Owner shall have the right to inspect such books and financial records of Contractor in connection with the
           services to be performed. Contractor shall fully cooperate with any such inspection that may be conducted.

                            (g)     Contractor may not assign, sub-contract or otherwise enter into any aiTangements
           to share the fees hereunder with any third party or parties directly or indirectly or delegate the services for
           which Contractor has been retained to any third party or parties.

                            (h)    Contractor agrees that Owner shall not be obligated under this Contract to take any
           action or omit to take any action that it believes, in good faith, would cause it to be in violation of any
           applicable anti-cormption laws.

                   17.22    OFAC Compliance and Certification

                     Contractor represents and certifies that neither Contractor, nor any partner or member of
           Contractor, nor any owner of a direct or indirect interest in Contractor (i) is listed on any Government Lists
           (defined below), (ii) is a person who has been determined by competent authority to be subject to the
           prohibitions contained in Presidential Executive Orders No. 13224 (Sept. 23, 2001) or any other similar
           prohibitions contained in the mles and regulations of OFAC (defined below) or in any enabling legislation
           or other Presidential Executive Order in respect thereof, (iii) has been previously indicted for or convicted
           of any felony involving a crime or crimes of moral turpitude or for any Patriot Act Offense (defined below),
           or (iv) is currently under investigation by any governmental authority for alleged criminal activity. For the
           purposes hereof, “Government Lists” means (i) the Specially Designated Nationals and Blocked Persons
           Lists maintained by Office of Foreign Asset Control (“OFAC”), (ii) any other list of terrorists, terrorist
           organizations or narcotics traffickers maintained pursuant to any of the Rules and Regulations of OFAC,
           or (iii) similar lists maintained by the U.S. Department of State, the U.S. Department of Commerce or any
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           Other governmental authority. For the purposes hereof, “Patriot Act Offense” means any violation of the
           Patriot Act or of the criminal laws of the U.S.A, or any of the several states relating to terrorism of the
           laundering of monetaiy instiuments, including the Bank Secrecy Act and the Money Laundering Control
           Act of 1986. To the follest extent permitted hy law, Contractor agrees to defend, indemnify and hold
           harmless Owner from and against any and all claims, damages, losses, risks, liability and expenses
           (including attorney’s fees and costs) arising from or related to any breach of the foregoing certification.
           The provisions of this Section shall survive the completion of Contractor’s Work under this Contract and
           the expiration or termination of this Contract.

                    17.23            Third Party Beneficiaries

                    Lender and Owner’s affiliates shall be deemed a third party beneficiary of this Contract and shall
           be entitled to enforce the covenants contained herein against Contractor to the fullest extent as though a
           party hereto, including any damages incurred by Owner as a result of Contractor’s breach of this Contract;
           provided that no such third party beneficiary shall have any obligation hereunder or be subj ect to or included
           in any lawsuit to enforce the terms hereof based on status as a third party beneficiary.

                    17.24            Counterparts

                    This Contract may be executed in multiple counterparts, each of which shall be an original and all
           of which, together, shall constitute one agreement. Electronic and/or facsimile signatures of this Contract
           shall be deemed originals for all purposes.

                                               [Signatures To Follow On Next Page]
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                  IN WITNESS WHEREOF, the parties hereto have executed this Construction Contract as of the
           day and year first above written.

           OWNER: [OASG Hazlet, LLC]



           By: Samuel Giordano
           Title: CFO



           CONTRACTOR: [Scungio Borst & Associates]
              DocuSigned by:




                       Wk-ley
           Title: president
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r




                                                         PROJECT APPENDIX
               Contract Sum:
               One Million Two Hundred Twenty Five Thousand and 00/100 dollars ($1,225,000)
               Commencement Date:
               [Within three (3) days of the Effective Date] or {)

               Substantial Completion Date:
                            [9/15/21 for interior shell turnover only for Panera Bread to begin fit-out work]

               Liquidated Damages:
                Five Hundred Eighty Five Dollars and No Cents ($585.00) shall be paid by Contractor to Owner for each
               calendai' day until the day that Substantial Completion is achieved, up to a maximum of fifty percent
               (50%) of the Contract Sum

               Owner Primary Point of Contact and Email Address:

               [Eric Riedingerl - Feriedinger@onyxequities,com1
               Contractor Primary Point of Contact and Email Address:

                                                                  [Nick Fornaro] [nfornaro@scungioborst.com ]
               Notices:

                To Owner:                                     To Contractor:                           To Each Party’s Primary
                [OASG, LLC]                                   Scungio Borst & Associates               Point of Contact via email
                c/o Onyx Management Group, LLC                2 Riverside Drive, Suite 500
                One Gateway Center                            Camden, NJ 08103
                Suite 2400, Newark, New Jersey 07102
                Attention: Kristen Pappas
                Attention: Rona E. Korman

                With Copy for Owner Notices to:
                [OASG Hazlet, LLC]
                c/o Onyx Management Group, LLC
                900 Route 9 North, Suite 400
                Woodbridge, New Jersey 07095
                Attention: Samuel Giordano, CFO



              Exhibits Index:

              Exhibit A -Proposal
              Exhibit B -Project Schedule
              Exhibit C - Insurance Requirements
              Exhibit D - Waiver and Release Forms
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               Exhibit F - Clarifications and Exclusions

               Exhibit G - Sitework Scope Markup

               Exhibit H - Drawing List

               Exhibit I - Illustrative Model Facade for Section 'G'
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                                                                                              EXHIBIT "A"




                                           Scungio<*Borst                      ^^CONSTRUCTION MANAGEMENT

                                                                PANERA BREAD HAZLET - PROPOSAL FOR CONTRACTING PURPOSES
                                                                           3070 NJ-35 HAZLET, NEW JERSEY 07730
                                                                                          05/13/21




                    PROPOSAL FORM                                               PANERA                      SITEWORK                         FACADE

                    Trade Description                                             Value                        Value                           Value                               NOTES
           1.1      GENERAL REQUIREMENTS                                       $25,446.48                   $25,867.89                      $12,254.09
                         SURVEY 4 LAYOUT                                                    5500.00   ______________ $4,000.00                             $0.00
                         DUMPSTERS & TRASH REMOVAL                     ________________ S6.300.00                      $8,400.00                        $2,100.00
                         CLEANUP                                       ________________51,330.00                          $798.00                      $1,064.00
                         PLANS, DOCUMENTATION MANAGEMENT               ________________ 52,525.00     ______________ $1,515.00      _______________ $1,010.00
                         TEMPORARY MEASURES                            ________________$4,417.50      ______________ $4,930.50      ________________ $3,930.50
                         TEMPORARY POWER & WATER                                          $1,812.50   ______________ $1,067.50                           $725.00
                         TEMPORARY FACILITIES/TOILETS                                     $2,590.00   ______________ $1,554.00                         $1,035.00
                         SITE SAFETY, MISC. TOOLS / EQUIPMENT                             $1,756.25   __________       $1,053.75                         $702.50
                         MISC. OTHER                                   ________________ $4,215.23                      $2,529.14                       $1,686.09
          1.2       PERMIT COST                                        __________ NIC__________                NIC                             NIC                  Pennit Cost - Pass Through by Owner
          Z1        DEMOLITION                                                 $21,392.50                      $0.00                        $20,397.50
          2.2       SITEWORK                                                      $0.00                     $320,241.43              ________ $0.00_________           Paving, Utilities, Site Concrete
          2.2       FENCING                                                       $0.00                     $21,060.07_______                  $0.00
          2.4       LANDSCAPING                                                   $0.00                     $46,645.38                         $0.00
          3.1       CONCRETE                                                   $13,640.45                     $0.00                          $4,000.00
          4.1       MASONRY/STONE VENEER                                       $22,596.45                    $7,000.00                      $20,146.98..
          5.0       METAL                                                      $86,909.00                     $0.00                         $27,885.00              Must be Purchased in 2 Weeks to Hold
          0.1      CARPENTRY                                           _______ $66,465.00                     $0.00                         $17,019.00              Must be Purchased in 2 Weeks to Hold
          7.1      ROOFING                                                     $49,287.00                     $0.00                         $16,325.00              Must bo Purchased in 2 Weeks to Hold
          7.2      EIFS/SIDING                                                   $0.00                ________ $0.00_________               $48,124.62                   Fiber Cement Siding, EIFS
          7.3      JOINT SEALANTS                                                $0.00                ________ $0.00_________                $3,500.00
          0.1      DOORS/FRAMES/HARDWARE                                       $1,068.00              ________ $0.00__________                $0.00
          S.2      GLASS/GLAZING                                       _______ $39,800.00_______              $0.00                         $32,835.00
          9.1      PAINTING                                            ________ $1,895.00________             $0.00                           $0.00
          15.1     SPRINKLER                                                   $3,800.00                      $0.00                           $0.00
          15.2     PLUMBING                                                    $26,001.34                     $0.00                  ________ $0.00_________
          15.3     HVAC                                                        $43,441.70             ________$0.00_________                  $0.00
          16.1     ELECTRICAL                                                  $38,407.00                     $0.00                         $6,915.25
                   SUBTOTAL                                                   $440,349.92                  $420,834.77                     $209,402.42
                   CONTINGENCY                                                    NIC                          NIC                             NIC
                   GENERAL CONDITIONS                                          $36,469.30                   $34,853.07                      $17,342.48                   Oversight & Management
                   INSURANCE                                          ________ $5,532.22___________         $5,286.70                       $2,631.49                         General Liabilty
                   TAXES                                                         $48.15                       $46.02                          $22.90                       Sales Tax & Local Tax
                   OVERHEAD & PROFIT                                  _______ $21,462.13                    $20,509.65                      $10,208.79                        Fee & Overhead


                   BASE PROPOSAL SUBTOTALS                                  $503,861.72                  $481,530.21                     $239,608,07




                   GRAND TOTAL                                                                                                          $1,225,000.00




          Confidential
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                                                                                                    EXHIBIT "B"

    ID               ilask   [Task Name                                IDuration   iStart               i May 2021               ...                         . ! June .2021   .                                . i July 2021                                             S August 2021
                     ^Mode                                                                                                                                                                                                                                                                                                     [ Septembe
                                                                                                  .26...1.... 1..... j..... 6... ‘ 11-L .16 j 21   j   26   I 31 j 5          MO i.... 15... L.20....j... 25   1 30 ) 5        ?   10   j.... 15   '   20   j   2S   !   30 !....4......^.... 9.... [.,..14   J9-.i..24„„j„„.25... i.....3 .J
         1
                             Panera Bread, Hazlett NJ - LL              82 days    Mon 5/10/21                                                                                                                                                                                                                ....................... I
                             Work - Preliminary Schedule -
                             Not For Construction - 210430
         2

         3       B              Executed Contract / Notice to Proceed 0 days       Mon 5/10/21
         4                      Building Permit                         Odays      Mon 5/10/21
         5                      Front End Procurement                   10 days    Mon 5/10/21
         6                      Procurement                             10 days    Mon 5/24/21
         1                      Long Lead Items                         40 days    Mon 5/31/21
         8       1                 RTU                                  40 days    Mon 5/31/21
         9       i              SBA Mobilization                        5 days     Mon 5/24/21
         10                     Construction                            69 days    Thu 5/27/21
         11                        Sitework                             49 days    Mon 6/7/21
\        12 '
                                     Grease Trap and Utility installatio 15 days   Mon 6/7/21
!        13
                                     Asphalt Demolition                 7 days     Tue 6/15/21
                                     Curbing                            10 days    Thu 6/24/21
         15                          Asphalt Milling                    4 days     Thu 7/8/21
         16                          Paving and Striping                12 days    Wed 7/14/21
         17                          Landscaping                        10 days    Fri 7/30/21
         18                        Vertical Construction                69 days    Thu 5/27/21
         19                          Shoring Design and Installation    10 days    Mon 5/31/21
         20                          Demolition                         15 days    Thu 5/27/21
    .... 21...
                                     Sawcut/removai for                 6 days     Thu 5/27/21
                                     underground plumbing
1.... 22'
                                     Sawcut/removai/placeback for       15 days     Mon
                                     underground conduit to
    .... 23"
                                     Underslab Plumbing / Concrete      10 days    Fri 6/4/21
                                     Placeback
;.... 2!’
                                     Concrete and CMU for Drive-Thru 6 days        Thu 6/10/21
         25                          Steel Construction                 15 days     Mon 6/14/21
    .... 26'
                                     Exterior Framing                   18 days    Mon 6/28/21
i        '21
                                     Roofing                            5 days     Thu 7/22/21
    .... 28'
                                     Demising Wall                      15 days    Thu 6/3/21
["29
                                     MEPS/RTU's                         5 days      Mon 7/26/21
;        30                          Glass and Glazing                  7 days     Thu 7/22/21
1....31"
J...
                                     EiFS                               15 days    Thu 7/22/21
                                     Fibercement Siding                 9 days      Mon 8/2/21




5 Date: Fri 4/30/21

                                                                                                                                           Page 1
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ID             iTask   Task Name                          |Duration   [start          i May 2021                                         J-’uf'e2021 .                      .                  .       ,         JJuly2021 ....                                      iAu9ust2021                                                  iSeptembe
          iO   :Mode   :                                                                  ..... i.... 5-J   L.1.6..,L,21... ...................................... 1.... 10 j 15              i 20    j 25      i 30 j.... S.... |.... 10_LjS....i... 20 I 25   j   30 :..... 4.... 1... 9.. j   14   I   19.... J........................... 3.... 1
     33                        Paint                      lOdays      RiS/is/ii...
                                                                                                                                                                                                                                                                                                                           -------
     34        ■?              Final MEPS                 3 days      Fri 8/27/21
     35                   ProJet Substantially Complete   0 days      Tue 8/31/21                                   .................... . .......... .....................................     .............       ,                           .        . „                                                           _




; Date: Fri 4/30/21

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                                                                                                tractor Insurance Requirements
     ACORC?                                              CERTIFICATE OF LIABILITY INSURANCE
                                                                                                                                                                                     DATE (MMZDDZYYYY)

                                                                                                                                                                                         05/24/2021
        THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
        CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND. EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
        BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S). AUTHORIZED
        REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
        IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
        If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement A statement on
        this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).____________________________________________
    PRODUCER                                                                                                         Anthony Dougherty
     BURTON & COMPANY INC.                                                                              K. Ext): (610) 278-1880                                   |                  (gig) 278-1884
     1400 Granary Road                                                                                  ADDRESS:     certs@burton-inc.eom

                                                                                                                            INSURERtS) AFFORDING COVERAGE                                      NAIC#
    Blue Bell                                                                      PA 19422             INSURER A; Admiral Insurance Company                                                   24856
    INSURED                                                                                             INSURER a; Harford Mutual Insurance Company                                            14141
                        Scunglo Borst & Assoc. LLC                                                      INSURER 0: State Workers Insurance Fund                                                  N/A
                        2 Riverside Drive                                                               INSURER D: Lloyds of London                                                             N/A
                        Suite 500                                                                       INSURER E:
                        Camden                                                     NJ 08103 '           INSURER F:
    COVERAGES_____________________CERTIFICATE NUMBER:                                     CL214402542_________________________________ REVISION NUMBER:
        THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
        INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
        CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
        EXCLUSIONSAND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
   INSR                                                                                                         POLICY EFF      POLICY EXP
    LTR                  TYPE OF INSURANCE                 mI.L   Ilf V/t              POLICY NUMBER           (MM/DD/YYYY)    (MM/DD/YYYY)                                 LIMITS

           X    COMMERCIAL GENERAL LIABILITY
                                                                                                                                              EACH OCCURRENCE
                                                                                                                                                                                 , 1,000,000
               ____ 1 CLAIMS-MADE   s OCCUR                                                                                                   DAMAGE TO RENTED                   5 300,000
                                                                                                                                              PREMISES (Ea occurrence)

                                                                                                                                              MED EXP (Any one person)
                                                                                                                                                                                 5 5,000
    A                                                        Y              CA00004136601                      03/31/2021       03/31/2022                                       5 1,000,060
                                                                                                                                              PERSONAL & ADV INJURY

           GEN'LAGGREGATE LIMIT APPLIES PER:                                                                                                  GENERALAGGREGATE                   2 2,000.000
               POLICY |X| jEcf     1____ 1 LOG
                                                                                                                                              PRODUCTS - COMP/OP AGG
                                                                                                                                                                                 J 2,000,000

                OTHER:                                                                                                                                                           s
          AU1■OMOBILE LIABILITY                                                                                                               COMBINED SINGLE LIMIT              s 1,000,000
                                                                                                                                              (Ea accident)
                ANYAUTO                                                                                                                       BODILY INJURY (Per person)         $
                OWNED
    B     X     AUTOS ONLY
                                        SCHEDULED
                                        AUTOS
                                                                            CAI 0280478                        01/30/2021       01/30/2022    BODILY INJURY (Per accident)       5
                HIRED
          X     AUTOS ONLY          X   NON-OWNED
                                        AUTOS ONLY
                                                                                                                                              PROPERTY DAMAGE
                                                                                                                                              (Per accident)                     S

                                                                                                                                              Surcharges                         $

          X     UMBRELLA LIAB           X   OCCUR                                                                                             EACH OCCURRENCE
                                                                                                                                                                                 5 10,000,000
    A           EXCESS LIAB             X   CLAIMS-MADE                     GX0OOO0419201                      03/31/2021      03/31/2022     AGGREGATE                          J 10,000,000
                DED 1      1 RETENTION S
                                                                                                                                                                                 s
          WORKERS COMPENSATION                                                                                                                XZ| PER
                                                                                                                                              *^1 STATUTE    11       11 O'
                                                                                                                                                                         ERth-
          AND EMPLOYERS' LIABILITY                  y,
          ANY PROPRIETOR/PARTNER/eXECUTIVE          rTTl                                                                                      E.L. EACH ACCIDENT                 5 1,000,000
    C     OFFICER/MEMBER EXCLUDED?                         N/A              05874664                           07/07/2020      07/07/2021
          (Mandatory in NH)                         ‘‘
                                                                                                                                              E.L. DISEASE - EA EMPLOYEE         S 1,000,000
          If yes, describe under
          DESCRIPTION OF OPERATIONS below                                                                                                     E.L. DISEASE - POLICY LIMIT
                                                                                                                                                                                 5 1,000,000

          Professional Liability
    D     (Including Pollution Liability)                                   ANE1935951.21                      03/31/2021      03/31/2022     Each Claim Limit                        $ 2,000,000


   DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)

   Onyx Management Group, LLC (Managing Agent) and OASG Hazlet, LLC (Owner) are recognized as Additional Insureds on a primary and non-contributory
   basis for property located at 3010-3070 Route 35 Hazlet, NJ.




   CERTIFICATE HOLDER                                                                                  CANCELLATION

                                                                                                         SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                                         THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                       Onyx Management Group, LLC (Managing Agent)                                       ACCORDANCE WITH THE POLICY PROVISIONS.

                       for OASG Hazlet, LLC
                                                                                                       AUTHORIZED REPRESENTATIVE
                       900 Route 9, Suite 400
                       Woodbridge                                                 NJ 07095
                   1
                                                                                                                              © 1988-2015 ACORD CORPORATION. All rights reserved.
  ACORD 25 (2016/03)                                              The ACORD name and logo are registered marks of ACORD
                 Case 22-10609-amc                             Doc 6-6 Filed 03/11/22 Entered 03/11/22 15:22:39                                                      Desc
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                                                          txhibit (J - Subcontractor Insurance Requirements
     ACORD                                     CERTIFICATE OF LIABILITY INSURANCE
      THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER.
      THIS CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE
      POLICIES BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S).
      AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
      IMPORTANT; If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject
      to the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to
      the certificate holder in lieu of such endorsement(s).
    PRODUCER                                                                                 CONTACT
                                                                                             NAME;
                                                                                             PHONE                                                    I FAX
                                                                                             (A/C, No.. Ext:                                          I (A/C, No):
                                                                                             E-MAIL
                                 ** VENDOR SAMPLE **                                         /ADDRESS:
                                                                                                               tNSURER(S) AFFORDING COVERAGE                                      NAIC #

                                                                                             INSURER A:
    INSURED                                                                                  INSURER B:

       VENDOR NAME                                                                           INSURER C;

       VENDOR ADDRESS                                                                        INSURER D:

                                                                                            INSURER E:

                                                                                            INSURER F:

    COVERAGES                                         CERTIFICATE NUMBER:                                                        REVISION NUMBER:
      THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
      INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH
      THIS CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE
      TERMS, EXCLUSIONSAND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
   7RSIT                                                    AODL SUBR                                              POUCY EXP
    LTR                 TYPE OF INSURANCE                                  POLICY NUMBER                          (MM/DD/YYYY)                                  LIMITS
                                                            iNsn_ wvn
           GENERAL LIABILITY                                                                                                     EACH OCCURRENCE                         $1,000,000.00
                                                                                                                                  DAMAGE TO RENTED
                COMMERCIAL GENERAL LIABILITY
                                                                                                                                 PRPMI.qP.q /Fa nrri.rrpnr*.^
               ____ I CLAIMS-MADE | | OCCUR
                                                                                                                                 MED EXP (Any one person)

                                                                                                                                 PERSONAL & ADV INJURY
                                                                                                                                                                         $1,000,000.00
                                                                                                                                 GENERAL AGGREGATE
                                                                                                                                                                         $2,000,000.00
           GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                    PRODUCTS -COMP/OPAGG
                                                                                                                                                                         $2,000,000.00
              I POLICY I       I 5^       I   I log

           AUTOMOBILE LIABILITY                                                                                                   COMBINED SINGLE LIMIT
                                                                                                                                 fEa accident)
                                                                                                                                                                         $1,000,000.00
                ANY AUTO                                                                                                          BODILY INJURY (Per person)
                ALL UVVINtZU               OL»nCUULCU
                                                                                                                                 BODILY INJURY (Per accident)
                AUTOS                      AUTOS
                                         ■ NON-OWNED                                                                              KKUKtKlY UAMAUt
                HIRED AUTOS                AUTOS                                                                                 /Per accident)


                UMBRELLA LIAB                 OCCUR                                                                               EACH OCCURRENCE                        $5,000,000.00
                EXCESS LIAB                   CLAIMS-MADE                                                                          AGGREGATE                             $5,000,000.00
                DED I      I RETENTION S
           TtUHItLI^U UUffnrLPJHAIIUPJ                                                                                               I UULblAlU- I          I
           AND EMPLOYERS’ LIABILITY                   y                                                                              j TORY LIMITS |        |
           ANY PROPRIETOR/PARTNER/eXECUTlVE ,____ ,                                                                              E,L. EACH ACCIDENT
           OFFICER/MEMBER EXCLUDED?                         N /A                                                                                                         $500,000.00
           {Mandatory In NH)                I____ )                                                                              E.L. DISEASE - EA EMPLOYEE
           if yes, describe under
                                                                                                                                                                         $500,000.00
           DESCRIPTION OF OPERATIONS below                                                                                       E.L DISEASE - POLICY LIMIT              $500,000.00




   UbbUKIPHUN Uh UPbKA HUNS / LUCA HUNS/ VtHIC -ty ( macn auuku iui, Additional Kemarksscheduie.ir more space is required)




    Onyx Management Group, LLC (Managing Agent) OASG Hazlet, LLC (Owner) as additional insureds on a primary and non
    contributory basis, for property located at 3010-3070 Route 35, Hazlet, NJ



   CERTIFICATE HOLDER                                                                           CANCELLATION

                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE  EXPIRATION    DATE   THEREOF. NOTICE WILL BE DELIVERED IN
    Onyx Management Group, LLC (Managing Agent)                                               ACCORDANCE WITH THE POLICY PROVISIONS.
    for OASG Hazlet, LLC
    900 Route 9 North, Suite 400                                                            AUTHORIZED REPRESENTATIVE
    Woodbridge, NJ 07095


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                     CONTRACTOR OR SUBCONTRACTOR CONDITIONAL PARTIAL LIEN RELEASE

                Project/Property______________________________________________________________________
                Owner______________________________________________________________________________
                Contractor or Subcontractor_____________________________________________________________
                Contract or Subcontract Date____________________________________________________________
                Original Contract or Subcontract
                Amount_____________________________________________________________________________
                Change Order Amounts (if any)__________________________________________________________
                Adjusted Contract or Subcontract
                Amount_____________________________________________________________________________
                Total Payments Received to Date_________________________________________________________
                Current Requisition # and Date__________ ___________________________ __________________ _
                Current Payment Requested


                        The Contractor or Subcontractor (referred to as “Subcontractor” herein), for and in consideration
               of the payments made to it as described herein, for labor employed in and materials furnished for the
               construction of the above-referenced Project, the receipt and sufficiency of which hereby is
               acknowledged, hereby certifies as follows:

               1.      The Subcontractor acknowledges receipt of payment equal to the Total Payments Received to
               Date set forth above, and certifies that

                       (a) through the date of the Current Requisition, and conditional upon receipt of the Current
                           Payment Requested, the Total Payments Received to Date and Current Payment Requested
                           (“Paid Amount”) represents payment in full for all labor, materials, equipment, services and
                           supplies furnished by the Subcontractor and all of its personnel, subcontractors and material
                           and equipment suppliers in connection with the Project and improvement of the Property
                           through the Current Requisition (“Work to Date”), except those items listed below, if any:

                               Contract retainage as set forth in the Current Requisition (“Retainage”)
                               Other:(together with the Retainage, the
                               “Outstanding Claims”); and

                       (b)          the information, including amounts, contained in this document are true and correct.

              2.     The Subcontractor, for itself, its successors and assigns and anyone else acting or claiming by or
              through it, hereby releases entirely, in consideration of and as to the Paid Amount, and except for the
              Outstanding Claims:

                       (a)     any mechanic’s lien, construction lien or other lien, stop notice, or any right against any
              labor or material payment bond, or claim to any mechanic’s lien, construction lien or other lien which the
              Subcontractor had or now may have for the Work to Date; and

                       (b)       any and all claims against the Owner and its agents, attorneys, employees, heirs,
              executors, administrators, members, managers, officers, stockholders, partners (both general and limited),
              sureties, affiliates, parents, subsidiaries, successors, and assigns (collectively, the “Released Parties”)




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               arising out of or relating to or on account of the Work to Date.

               3.       The Subcontractor further warrants that, as to the Work to Date, and except for the Outstanding
               Claims: (a) all workmen employed by it or its subcontractors upon this Project and all materialmen from
               whom the Subcontractor or its subcontractors have purchased materials used in the Project have been
               fully paid through the date of the above-referenced Requisition; and (b) none of such workmen and
               materialmen has any claim or demand or right of lien against the Property and/or improvements thereon.

               4.      The Subcontractor agrees, as to the Work to Date and except for the Outstanding Claims, to pay
               and/or cause to be discharged within fifteen (15) days from the date of filing of any and all mechanic’s
               liens, construction liens and other liens filed by others against the Project when such liens are claimed to
               have been filed as a result of the Subcontractor’s failure to make payments for or in connection with the
               Work to Date; and to take all steps necessary to effect cancellation, release or satisfaction of any such
               lien. The Subcontractor further agrees that any or all of the Released Parties may, at their option, (a) post
              a bond and discharge such lien, (b) defend any action related to the lien, or (c) pay and satisfy any
              judgment or award in connection with such lien, and the Subcontractor shall be responsible for and pay all
              of such Released Parties’ direct and indirect costs, including without limitation attorneys’ fees, within
              thirty (30) days from demand therefor.

              5.       For the avoidance of doubt, this Partial Lien Release does not extend to any existing claims
              against the Released Parties asserted as a result of third-party claims for death or personal injury or
              property damage arising from or related to the Project (“Third-Party Claims”) and does not include any
              waiver of contract rights except to the extent relating to lien rights. Notwithstanding the foregoing, the
              Subcontractor affirms that, as of the date hereof. Subcontractor is not aware of any Third-Party Claims
              and has no reason to believe any Third-Party Claims exist, except to the extent specifically identified •
              here.

              6.       The undersigned person executing this Partial Lien Release represents and warrants that he or she
              is a duly authorized representative or agent of the Subcontractor, has been authorized by the
              Subcontractor to issue this Partial Lien Release and make all of the agreements, representations and
              warranties herein, and agrees the Released Parties and any surety or insurer may rely upon this
              instrument.

              7.     Any signature delivered via electronic means (e.g., .pdf file sent by electronic mail) shall be
              deemed an original signature hereto.

                      IN WITNESS WHEREOF, this Partial Lien Release is executed on behalf of Subcontractor:

              By:(signature)

              Print Name:___________________________

              Title:________________________________




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                               CONTRACTOR OR SUBCONTRACTOR’S FINAL LIEN RELEASE

                Project/Property ________________________________________
                Owner______________________________________________________________________________
                Contractor or Subcontractor_____________________________________________________________
                Contract or Subcontract Date____________________________________________________________
                Original Contract or Subcontract
                Amount_____________________________________________________________________________
                Change Order Amounts (if any)__________________________________________________________
                Adjusted Contract or Subcontract
                Amount_____________________________________________________________________________
                Total Payments Received to Date_________________________________________________________
                Current Requisition # and Date___________________________________________________________
                Current Payment Requested

                        WHEREAS, Contractor or Subcontractor (referred to herein as “Subcontractor”) has entered into
               a contract for the supplying of materials and/or labor for the above-referenced Project. The Subcontractor
               has issued the Final Requisition identified above for final payment from Contractor with respect to the
               Project and improvement of the Property.

                       NOW, THEREFORE, for good and valuable consideration including the payments referenced
              herein, the receipt and sufficiency of which hereby is acknowledged, the Subcontractor certifies as
              follows:

               1.      The Subcontractor acknowledges receipt of payment equal to the Total Payments Received to
               Date set forth above, and certifies that through the date hereof, conditional upon and in consideration of
               receipt of the Final Payment Requested,

                       (a) the Total Payments Received to Date and Final Payment Requested (“Paid Amount”)
                           represents payment in full for all labor, materials, equipment, services and supplies furnished
                           by the Subcontractor and all of its personnel, subcontractors and material and equipment
                           suppliers in connection with the Project and improvement of the Property (the “Work”);

                       (b) upon receipt of the Final Payment Requested, Subcontractor will have no outstanding claim
                           for compensation relating to the Project;

                      (c) upon receipt of the Final Payment Requested, Subcontractor will have been paid in full for all
                          labor, services, supplies, equipment and materials furnished in connection with the Project;
                          and

                      (d)          the information, including amounts, contained in this document are true and correct.

               2.       Upon receipt of the Final Payment Requested, and in consideration thereof, the Subcontractor, for
               itself, its successors and assigns and anyone else acting or claiming by or through it, shall be deemed to
               release entirely:

                      (a) any mechanic’s lien, construction lien or other lien, stop notice, or any right against any labor




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                           or material payment bond, or claim to any mechanic’s lien, construction lien or other lien
                           which the Subcontractor had or may have had for or on account of the Work; and

                       (b) any and all claims against the Owner and its agents, attorneys, employees, heirs, executors,
                           administrators, members, managers, officers, stockholders, partners (both general and
                           limited), sureties, affiliates, parents, subsidiaries, successors, and assigns (collectively, the
                           “Released Parties”) arising out of or relating to the Work, including but not limited to all
                           causes of action, suits, debts, dues, accounts, reckonings, bonds, bills, specialties, covenants,
                           promises, variances, trespasses, damages, judgments, extents, executions, claims and
                           demands whatsoever, in law or in equity, relating to or arising out of the Work.

                3.     The Subcontractor further wairants that: (a) all workmen employed by it or its subcontractors
                upon this Project and all materialmen from whom the Subcontractor or its subcontractors have purchased
                materials used in the Project have been fully paid through the date hereof; and (b) none of such workmen
                and materialmen has any claim or demand or right of lien against the Property and/or improvements
                thereon.

               4.      The Subcontractor agrees to pay and/or cause to be discharged within fifteen (15) days from the
               date of filing of any and all mechanic’s liens, construction liens and other liens filed by others against the
               Project when such liens are claimed to have been filed as a result of the Subcontractor’s failure to make
               payments for or in connection with any labor, materials, appliances, machinery, equipment, fixtures, or
               furnishings placed upon or installed in the Project; and to take all steps necessary to effect cancellation,
               release or satisfaction of any such lien. The Subcontractor further agrees that any or all of the Released
               Parties may, at their option, (a) post a bond and discharge such lien, (b) defend any action related to the
               lien, or (c) pay and satisfy any judgment or award in connection with such lien, and the Subcontractor
               shall be responsible for and pay all of such Released Parties’ direct and indirect costs, including without
               limitation attorneys’ fees, within thirty (30) days from demand therefor.

               5.      This Final Lien Release does not extend to any existing claims against the Released Parties
               asserted as a result of third-party claims for death or personal injury or property damage arising from or
               related to the Project (“Third-Party Claims”). The Subcontractor represents and warrants that, as of the
               date hereof. Subcontractor is not aware of any Third-Party Claims and has no reason to believe any
               Third-Party Claims exist, except to the extent specifically identified here.

               6.      The undersigned person executing this Final Lien Release represents and warrants that he or she
               is a duly authorized representative or agent of the Subcontractor, has been authorized by the
               Subcontractor to issue this Final Lien Release and make all of the agreements, representations and
               warranties herein, and agrees the Released Parties and any surety or insurer may rely upon this
               instrument.

               7.    Any signature delivered via electronic means (e.g., .pdf file sent by electronic mail) shall be
               deemed an original signature hereto.

                      IN WITNESS WHEREOF, this Final Lien Release is executed on behalf of Subcontractor:

              By:(signature)

              Print Name:___________________________

              Title:________________________________




                                                                    2
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i



                                                                                                                                    Scungio Borst & Associate




         Scungio<>Borst
                                                                                                                                            2 Riverside Drive, Suite SC

                                                                                                                                                     Camden. NJ 081C

                                                                                                                                     P; 8S6-757-0100 J F: 856-757-911

                                                                                                                                          Web: www.scungioborst.coi
                                       CONSTRUCTION MANAGEMENT                                                                       E-Mail; contact@scungioborst.coi




       HAZLET TOWN CENTER - PANERA BREAD, SITEWORK, FAQADE
       EXCLUSION, CLARIFICATIONS, AND ALTERNATES
                    We believe this proposal to be prepared and submitted in aceordarice with the provided documents.
                    Notwithstanding the items listed below;


                    ALTERNATES
                1    To provide power, conduit, wire and to furnish and install light pole base and light fixture DSX1-P7-P5M        ADD:     $3,300 each
                2    To Supply Arch Fauit/Arch Flash Studies for the (2) New Disconnects if required                                 ADD:     $3,480
                3    Supply and install 1,000 gallon grease interceptor.                                                             ADD:     $11,694
                4    Diamond grinding of concrete subfloor                                                                           ADD:     $12,120
                5    Mill, overlay top coat and restripe of additional approximate 9,600SF Of area surrounding Panera drive thru.    ADD:     $44,928
                6    Seal and restripe of additional approximate 9,600SF of area surrounding Panera drive thru.                      ADD;     $5,875

                    EXCLUSIONS
                    The following items are specifically excluded from this quotation unless noted otherwise.

                1 After hours work.
                2 Permits, engineering fees, architectural fees, impact fees, or other design fees.
                3 Payment and performance bonds. These can be provided at an additional cost.
               4 Roadwork permits or fees.
                5 NJDOT or Local Police Traffic Safety charges or fees.
                6 Utility and tap fees.
               7 Rock breaking or rock removal.
               8 Test, reporting, and third party inspections.
               9 Floor leveling, floor griding or major prep. (See alternate)
              10 Builders risk insurance.
              11 The identification, testing, handling, remediation or disposal of any hazardous materials.
              12 F&l signage
              13 F&l preview board
              14 F&l speaker post and canopy
              15 Floor leveling, floor griding or major prep. (See alternate)
              16 Panera specific signage by others.
              17 Wire mesh within the demising wall.
              18 Fire Alarm
              19 Security camera disconnect
              20 Aluminum coping at West "B" Elevation
              21 New fapade exterior light fixtures (not shown)
              22 Rock breaking or rock removal.
              23 Soil imports or exports.
              24 Unsuitable soil conditions requiring stabilization or remediation.
              25 Note 6 on M-101; Provide high efficiency unit if standard efficiency unit does not meet schedule of values.
              26 Supply and install of lights per E-101 Keynotes #2, #3, and #4.
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                                                                                                                             Scungio Borst & Associate



          Scungio<>Borst
                                                                                                                                      2 Riverside Drive, Suite SC

                                                                                                                                               Camden. NJ 081C

                                                                                                                               P: 856-757-0100 | F: 856-757-911

                                                                                                                                    Web: www.'scurigloborst.coi
                                       CONSTRUCTION MANAGEMENT                                                                E-Mail: contact@scungioborst.coi




       HAZLET TOWN CENTER - PANERA BREAD, SITEWORK, FAQADE
       EXCLUSION, CLARIFICATIONS, AND ALTERNATES

                   CLARIFICATIONS
                   We have assumed the following issues to be part of the understanding of the scope of work,

                1 Pricing breakouts are for accounting purposes only. This bid assumes all work will be awarded as a package.
                2 All work to be performed concurrently, with one mobilization.
                3 All labor to be open shop labor.
                4 We have included four (4) roof top units as listed on HVAC schedule per M-101.
                5 We have assumed water meter to be provided by others.
                6 We have assumed gas meter to be provided by others.
                7 We have included all electrical work as shown on E-101 only.
                8 We have included supply and install junction boxes and 12-2 MC for future lights per Key Note #2 on E-101.
                9 We have included supply and install of junction boxes and 12-2 MC for future signs per Key Note #3 on E-101.
               10 We have included junction box and 12-2 MC for future soffit lights per Key Note #4.
               11 We have excluded extending wire to panel "M" per Key Note 1 on E-101.
               12 We have included an allowance of $45 EA for remote head as shown on E-101.
               13 We have included an allowance of $150 EAfor (9) recessed canopy lights as shown on E-101.
              14 We have included an alternate unit cost allowance to furnish and install light poles.
              15 Roof access ladder will be powder coated aluminum.
              16 Awning will be structural steel and framed, and NOT pre-fabricated aluminum.
              17 All steel pricing is valid for 15 days. Afterwards, SBA reserves the right to re-price materials.
              18 Chord and panel point reinforcement at 4 RTUs, chords reinforced 10 lineal feet out in each direction from RTUs.
              19 Exterior fencing around patio seating based on 2.5" post without concrete option.
              20 Foundations and conduit to Panera drive thru signage and canopy only.
              21 Owner must provide signage information to allow for proper foundation sizing.
              22 Irrigation system in area of work only. Marked and capped for final connection by others.
              23 We have included canopy aluminum fascia to be .050 gauge.
              24 Storefront system to be standard anodized aluminum finish between column lines 54-56.
              25 Ail storefront hardware assumed to be standard pulls and push bars. No closer hardware is included.
              26 We have included an allowance of $2,250 to furnish and install exterior grade panels at "GIFT" store new
                 fagade. No specification design and detail is provided at time of this bid.
              27 We have included an allowance of $14,075 to furnish and install roofing and aluminum coping work at new
                 fagade parapet from Column line 54 to 56.
              28 Fagade renovations are based on drawings with limited information, and are to be considered allowances.
              29 An allowance of $5,000 is included for shoring, including any engineering fees.
              30 Fagade work is to be performed up to column line 54 on Hazlet Plaza Fagade Alteration drawing SK.6.
              31 An allowance of $4,000 is included for any potential concrete work between column lines 54 and 56.
              32 An allowance of $8,000 is included for any potential masonry work between column lines 54 and 56.
              33    An allowance of $2,500 is included to remove the existing site grease trap.
              34    This proposal is valid for 30 days.
              35    Please see Attachment A for clarification on additional work included in this April 14 revision.
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                                                        Exhibit F Page 56 of 64                                                                                                                                                    o
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                                              ..... R = 1863.08'
                                                    L = 127J24‘
                                                    A= 03’54'48’
                                                    CHB=S 45’43'24''E
                                                                          ATTACHMENT A - AREAS TO BE PAVED
GRAPHIC SCALE                                       CHD = 127.24'
                          11NCH= 30 FEET                                        (P£RFM104-7&9d-12)
                                                                                rwiD£ DEDICATION
                                                                                PERF.M. 104'7&9&-12)

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                                                                                     Option 3: Mill &
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                                                                                                                        Paving Takeoff
                                                                                                                                                                                                                                    03
                                                                                                                  Description                 Quantity    Unit
                                                                                                       8       New Paving                     5,042.80     sf
                                                                                                       □     New Paving (Alt)                 9,580.59     sf
                                                                                                       B              Paving                  16,510.67    sf




                                                                                                                                                                Include all work for
                                                                                                                                                                this island, including      7/7! «
                                                                                                                                                                                                 PA-n^
                                                                                                                                                                curbing, sidewalk,
                                                                                                                                                                and crosswalk
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                                4,814 SF EXSTtNC BLDG • T3 S? PROPOSKJ1

                                                    PROPOSED         , 6                                                                                                             si        .0 ■■ ■'■H'-v/.a- ■
                                                    RESTAURANT      ca
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                                                    4.887 SF (TOTAL) 1 5=

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                                        CONTRACT DOCUMENTS
                                                            Exhibit H
         PROJECT / LOCATION:                      PANERA BREAD LL WORK, ASSOCIATED
                                                  SITEWORK, AND BLOCK “G” FACADE
                                                  3010 NJ-35
                                                  HAZLET, NJ 07730

        OWNER:                                    OASG HAZLET, LLC
        GENERAL CONTRACTOR:                       SCUNGIO BORST & ASSOCIATES (SBA)

                    THE MONTORO ARCHITECTURAL GROUP, ARCHITECT
            Dwg                                     Title                            Permit    Rev 1   Rev 2
                                                                                      Set
                    ARCHITECTURAL
         T-1        COVER SHEET. GEN. INFO, LOCATION MAP. LIST OF DRAWINGS. NOTES   02/01/21
         T-2        GEN. INFO AND CODE REVIEW. CODE ANALYSIS. GEN. NOTES. EGRESS    02/01/21
                    PLAN
                    PHASE 1 - INTERIOR. ROOF. SITE WORK
         AI-0       PARTIAL DEMOLITION PLAN AND SITE PLAN. GENERAL SCOPE OF WORK    02/01/21
         A1-1       PARTIAL CONSTRUCTION PLAN AND SITE PLAN. GENERAL SCOPE OF       02/01/21
                    WORK
         Al-2       PARTIAL ROOF CONSTRUCTION PLAN. GENERAL SCOPE OF WORK           02/01/21
         Al-3       PARTITION TYPE. PLAN AND SECTION DETAILS                        02/01/21
                    PHASE 2 - EXTERIOR FACADE
         A2-0       DEMOLITION PLANS & ELEVATIONS                                   02/01/21
         A2-1       DEMOLITION PLANS & ELEVATIONS                                   02/01/21
         A2-2       PROPOSED FLOOR PLAN & ELEVATIONS                                02/01/21
         A2-3       PROPOSED FLOOR PLAN & ELEVATIONS                                02/01/21
         A2-4       PROPOSED ROOF PLAN                                              02/01/21
         A2-5       WALL SECTIONS                                                   02/01/21
         A2-6       WALL SECTIONS                                                   02/01/21
         A2-7       WALL SECTIONS                                                   02/01/21
         A2-8      WALL SECTIONS                                                    02/01/21
         A2-9       PLAN DETAILS - EAST FAQADE                                      02/01/21
         A2-10      PLAN DETAILS - NORTH FAQADE                                     02/01/21
         A2-11      DOOR SCHEDULE. DOOR SCHEDULE. STOREFRONT ELEVATIONS AND         02/01/21
                    DETAILS
         A2-12a    STANDARD DRYVIT DETAILS                                          02/01/21
         A2-12b    STANDARD DRYVIT DETAILS                                          02/01/21
         A2-12C    STANDARD DRYVIT & HARDIEPLANK DETAILS                            02/01/21
         A2-12d    STANDARD ROOFING DETAILS                                         02/01/21
         A2-12e    TYPICAL ROOF DETAILS AND SIGNAGE DETAIL                          02/01/21
         A2-13     GENERAL SPECIFICATIONS                                           02/01/21




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       SBA Project #2102004                                                                               I
            Case 22-10609-amc              Doc 6-6         Filed 03/11/22 Entered 03/11/22 15:22:39              Desc
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                                          CONTRACT DOCUMENTS
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         PROJECT/LOCATION:                            PANERA BREAD LL WORK, ASSOCIATED
                                                      SITEWORK, AND BLOCK “G” FACADE
                                                      3010 NJ-35
                                                      HAZLET, NJ 07730

         OWNER:                                       OASG HAZLET, LLC
         GENERAL CONTRACTOR:                          SCUNGIO BORST & ASSOCIATES (SBA)

                    BERTIN ENGINEERING, STRUCTURAL/ MECHANICAL
            Dwg                                        Title                              Permit      Rev 1    Rev 2
                                                                                           Set
                    MECHANICAL
          M-101     MECHANICAL ROOF PLAN, SCHEDULE & NOTES                               02/16/21
          E-101     ELECTRICAL FLOOR & ROOF PLAN, SCHEDULES & NOTES                      02/16/21
          P-101     PLUMBING FLOOR PLAN, DETAILS, SCHEDULES & NOTES                      02/16/21
         SP-101     SPRINKLER FLOOR PLAN, DETAILS & NOTES                                02/16/21
                    STRUCTURAL
         S-1.0      GENERAL NOTES & DRAWING LIST                                         02/16/21
         S-2.0      FOUNDATION PLAN & DETAILS                                            02/16/21
         S-2.1      FOUNDATION SECTION & DETAILS                                         02/16/21
         S-3.0      ROOF FRAMING PLAN                                                    02/16/21
         S-4.0      SECTIONS & DETAILS                                                   02/16/21
         S-5.0      REINFORCING DETAILS                                                  02/16/21



                    PERMIT READY SUBMISSION - BAKERY CAFE #6037 (REFERENCE ONLY)
            Dwg                                        Title                             Original    Rev 1     Rev 2
         O101       EXHIBIT A (Used as Reference for Block G Fagade Scope)               02/26/21   03/09/21
         0102       EXHIBIT A.1 (Used as Reference for Block G Fagade Scope)             02/26/21   03/09/21
         0104       PATIO PLAN (Used as Reference for Block G Fagade Scope)              02/26/21   03/09/21
         0106       ELEVATIONS (Used as Reference for Block G Fagade Scope)              02/26/21   03/09/21
         0107       ELEVATIONS, CONTINUED (Used as Reference for Block G Fagade Scope)   02/26/21   03/09/21




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        SBA Project #2102004
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                                        CONTRACT DOCUMENTS
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         PROJECT / LOCATION:                         PANERA BREAD LL WORK, ASSOCIATED
                                                     SITEWORK, AND BLOCK “G” FACADE
                                                     3010 NJ-35
                                                     HAZLET, NJ 07730

         OWNER:                                      OASG HAZLET, LLC
         GENERAL CONTRACTOR:                         SCUNGIO BORST & ASSOCIATES (SBA)

                    THE MONTORO ARCHITECTURAL GROUP, ARCHITECT
            Dwg                                      Title                       Original   Rev 1   Rev 2
                    ARCHITECTURAL (MARKED BY SBA)
          SK.O      EXISTING SITE PLAN (EXHIBIT 1)                               04/26/17
          SK.6      PARTIAL FLOOR PLAN AND ELEVATION (EXHIBIT 1)                 04/26/17
          SK.7      PARTIAL FLOOR PLAN AND ELEVATION (EXHIBIT 1)                 04/26/17




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       SBA Project #2102004
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                                         CONTRACT DOCUMENTS
                                                             Exhibit H
         PROJECT / LOCATION:                       PANERA BREAD LL WORK, ASSOCIATED
                                                   SITEWORK, AND BLOCK “G” FACADE
                                                   3010 NJ-35
                                                   HAZLET, NJ 07730

         OWNER:                                    OASG HAZLET, LLC
         GENERAL CONTRACTOR:                       SCUNGIO BORST & ASSOCIATES (SBA)

                     LANDCORE ENGINEERING CONSULTANTS, P.C.
              Dwg                                    Title                  Rev 07     Rev 08    Rev 09
                     CIVIL/SITE PLAN
          CL         COVER SHEET                                           12/02/19   04/16/20
          TX         TAX MAP PLAN                                          12/02/19   04/16/20
          OA         OVERALL DEVELOPMENT PLAN                              12/02/19   04/16/20
          NT         NOTES SHEET                                           12/02/19   04/16/20
          ES1        EROSION AND SEDIMENTATION CONTROL PLAN                12/02/19   04/16/20
          ES2        EROSION AND SEDIMENTATION CONTROL PLAN                12/02/19   04/16/20
          ES3        EROSION AND SEDIMENTATION CONTROL PLAN                12/02/19   04/16/20
          DE         EROSION AND SEDIMENTATION CONTROL NOTES & DETAILS     12/02/19   04/16/20
          ECD1       EXISTING CONDITIONS / DEMOLITION PLAN                 12/02/19   04/16/20
          ECD2       EXISTING CONDITIONS! DEMOLITION PLAN                  12/02/19   04/16/20
          ECD3      EXISTING CONDITIONS / DEMOLITION PLAN                  12/02/19   04/16/20
         SP1        SITE PLAN                                              12/02/19   04/16/20
         SP2        SITE PLAN                                              12/02/19   04/16/20
         SP3        SITE PLAN                                              12/02/19   04/16/20
         SSI        SIGNAGE AND STRIPING PLAN                              12/02/19   04/16/20
         SS2        SIGNAGE AND STRIPING PLAN                              12/02/19   04/16/20
         SS3        SIGNAGE AND STRIPING PLAN                              12/02/19   04/16/20
         GP1        GRADING AND DRAINAGE PLAN                              12/02/19   04/16/20
         GP2        GRADING AND DRAINAGE PLAN                              12/02/19   04/16/20
         GP3        GRADING AND DRAINAGE PLAN                              12/02/19   04/16/20
         SC         STORM SEWER CHARTS                                     12/02/19   04/16/20
         UP1        UTILITIES PLAN                                         12/02/19   04/16/20
         UP2        UTILITIES PLAN                                         12/02/19   04/16/20
         UP3        UTILITIES PLAN                                         12/02/19   04/16/20
         LP1        LIGHTING PLAN                                          12/02/19   04/16/20
         LP2        LIGHTING PLAN                                          12/02/19   04/16/20
         LP3        LIGHTING PLAN                                          12/02/19   04/16/20
         LA1        LANDSCAPING PLAN                                       12/02/19   04/16/20
         LA2        LANDSCAPING PLAN                                       12/02/19   04/16/20
         LA3        LANDSCAPING PLAN                                       12/02/19   04/16/20
         LA4        LANDSCAPING PLAN                                       12/02/19   04/16/20




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        SBA Project #2102004
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                                        CONTRACT DOCUMENTS
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         PROJECT / LOCATION:                      PANERA BREAD LL WORK, ASSOCIATED
                                                  SITEWORK, AND BLOCK “G” FACADE
                                                  3010 NJ-35
                                                  HAZLET, NJ 07730

         OWNER:                                   OASG HAZLET, LLC
         GENERAL CONTRACTOR:                      SCUNGIO BORST & ASSOCIATES (SBA)

                    LANDCORE ENGINEERING CONSULTANTS, P.C. (CONTINUE)
            Dwg                                       Title                         Rev 07     Rev 08    Rev 09
          IR1       IRRIGATION PLAN                                                12/02/19   04/16/20
          IR2       IRRIGATION PLAN                                                12/02/19   04/16/20
          IR3       IRRIGATION PLAN                                                12/02/19   04/16/20
          IR4       IRRIGATION PLAN                                                12/02/19   04/16/20
         PV         PAVEMENT PLAN                                                  12/02/19   04/16/20
         OMP        OPERATIONS, MAINTENANCE AND PREVENTION PLAN                    12/02/19   04/16/20
         OMN        OPERATIONS, MAINTENANCE AND PREVENTION NOTES                   12/02/19   04/16/20
         DS1        STORMWATER MANAGEMENT DETAILS                                  12/02/19   04/16/20
         DS2        STORMWATER MANAGEMENT DETAILS                                  12/02/19   04/16/20
         DT1        CONSTRUCTION DETAILS                                           12/02/19   04/16/20
         DT2        CONSTRUCTION DETAILS                                           12/02/19   04/16/20
         DT3        CONSTRUCTION DETAILS                                           12/02/19   04/16/20
         DT4        CONSTRUCTION DETAILS                                           12/02/19   04/16/20
         DT5        CONSTRUCTION DETAILS                                           12/02/19   04/16/20
         DT6        CONSTRUCTION DETAILS                                           12/02/19   04/16/20
         SDT1       SIGNAGE DETAILS                                                12/02/19   04/16/20
         SDT2       SIGNAGE DETAILS                                                12/02/19   04/16/20
         SDT3       SIGNAGE DETAILS                                                12/02/19   04/16/20
         TR1        TRUCK MOVEMENT PLAN                                            12/02/19   04/16/20
         TR2        TRUCK MOVEMENT PLAN                                            12/02/19   04/16/20
         TR3        TRUCK MOVEMENT PLAN                                            12/02/19   04/16/20
         TR4        TRUCK MOVEMENT PLAN                                            12/02/19   04/16/20
         TR5        TRUCK MOVEMENT PLAN                                            12/02/19   04/16/20
         ADA1       ROADWAY ADA RAMP PLAN                                          12/02/19   04/16/20
         ADA2       ONSITE ADA RAMP PLjAN                                          12/02/19   04/16/20
         1-4 OF 4   ALTA/NPSP LAND TITLE SURVEY                                    12/02/19   04/16/20
         1 OF1      LOT CONSOLIDATION PLAN (BY OTHERS)                             12/02/19   04/16/20



                    LANDCORE ENGINEERING CONSULTANTS, P.C.
           Dwg                                        Title                         Rev 07     Rev 08    Rev 09
                    CIVIL / SITE PLAN (MARKED UP BY SBA)
         SP1        SITE PLAN (EXHIBIT G)                                         N/A
         SP1        SITE PLAN (ATTACEMENT A - AREAS TO BE PAVED)                  12/02/19



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     HAZLET PLAZA - EXISTING FACADE
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          EXISTING PARTIAL FLOOR PLAN
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                                                                                                                                   GROUP




         EXISTING NORTH "B" ELEVATION
         SC*i£:W*l'5-




EXISTING ELEVATION                                                                                                                    JOfWKMWTOeO.AXA.-




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         PROPOSED PARTIAL FLOOR PUN                    «*< ftxr ,»Ai«o xi/A cfM3Pr                                                 ELEVATION              ;




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                                                                                                                                   oawK/Qgoac-         vo/w
         PROPOSED NORTH "B" ELEVATION
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         scw&ir.r-ir
                                                                                                                                   paoecrwjxsEiu      2016-1463
                                                                                                                                   »UW1NCRO:



PROPOSED ELEVATION                                                                                                                             SK.7
